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               ORAL ARGUMENT NOT YET SCHEDULED
                                No. 22-5277

               UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT


                        END CITIZENS UNITED PAC,
                                           Plaintiff-Appellant,
                                   v.
                     FEDERAL ELECTION COMMISSION,
                                        Defendant-Appellee,

                          NEW REPUBLICAN PAC,
                                        Intervenor-Appellee.


               On Appeal from the United States District Court
             for the District of Columbia, No. 1:21-cv-2128-RJL
                    Before the Honorable Richard J. Leon


                           APPELLANT’S BRIEF

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                                    App. Rule 49(c)(3)
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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      Pursuant to Circuit Rule 28(a)(1), Appellant End Citizens United PAC (“End

Citizens United”) submits its Certificate as to Parties, Rulings, and Related Cases.

      (A) Parties and Amici. End Citizens United is the plaintiff in the district court

and Appellant in this Court. Pursuant to Circuit Rule 26.1, End Citizens United

certifies that it has no parent companies and no publicly held company with a 10%

or greater ownership interest. End Citizens United is a political action committee

whose mission is to get big money out of politics and protect the right to vote by

working to elect reform-oriented politicians, pass meaningful legislative reforms,

and elevate electoral issues in the national conversation.

      The Federal Election Commission is the defendant in the district court but

defaulted and has not appeared in the district court or in this Court. New Republican

PAC (“New Republican”) was granted leave by the district court to intervene in the

action as a defendant and is an Appellee in this Court.

      (B) Rulings Under Review. End Citizens United appeals the September 16,

2022 memorandum opinion (Doc. 36) and order (Doc. 37) of the U.S. District Court

for the District of Columbia (Leon, J.) granting New Republican’s Cross-Motion for

Summary Judgment and denying End Citizens United’s Motion for Default

Judgment, or, in the Alternative, for Summary Judgment. The September 16, 2022




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opinion is not published in the federal reporter but is available at 2022 WL 4289654

and can be found in the Joint Appendix at JA097-113.

      (C) Related Cases. The appealed ruling has not previously been before this

Court or any other court. There are no related cases pending before this Court or any

other court of which counsel is aware.




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                     GLOSSARY OF ABBREVIATIONS


    APA      Administrative Procedure Act

   CREW      Citizens for Responsibility and Ethics in Washington

    FEC      Federal Election Commission

   FECA      Federal Election Campaign Act

    MUR      Matter Under Review

    PAC      Political Committee




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                                INTRODUCTION

      This case involves the Federal Election Commission’s (“FEC” or

“Commission”) unlawful dismissal of Appellant End Citizens United PAC’s (“End

Citizens United”) administrative complaints alleging that U.S. Senator Rick Scott,

his campaign, and New Republican PAC (“New Republican”) violated federal

campaign finance law.

      To limit the risk and appearance of quid pro quo corruption, the Federal

Election Campaign Act (“FECA” or the “Act”) restricts the sources and amounts of

contributions to federal candidates. FECA also requires candidates to file periodic

financial disclosure reports that inform the electorate of who is spending money to

influence their votes.

      Starting in 2017, Scott’s nascent Senate campaign engaged in a blatant

scheme to circumvent these important anti-corruption and pro-transparency laws.

Scott illegally delayed declaring his candidacy with the FEC to avoid triggering

FECA’s requirements, while co-opting New Republican, a super PAC, to raise

millions of dollars outside the Act’s limits that would later be spent supporting his

campaign. In May 2017 when Scott became Chair of New Republican, the super

PAC had made no independent expenditures since 2014 and had not received a

contribution in over a year. Scott quickly staffed the super PAC with his political

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allies, declared a new mission to support then-President Trump’s policies while

rebranding the Republican Party, and ramped up operations, raising over a million

dollars by the end of 2017 and a further $1.2 million in the first quarter of 2018. Yet

the super PAC did not spend any of that money on its purported new mission. While

Scott was Chair, New Republican continued to make no independent expenditures

in support of any candidates, and it aired no issue ads. That changed when Scott

announced his Senate campaign in April 2018. The day of Scott’s announcement,

New Republican rolled out a new website—prepared and paid for in advance—and

a new objective: electing Rick Scott. New Republican then spent millions on that

objective in the 2018 election, almost all either in support of Scott or in opposition

to Bill Nelson, his Democratic rival.

      End Citizens United filed two administrative complaints with the FEC,

documenting how Scott, his principal campaign committee, Rick Scott for Florida

(the “Scott Campaign”), and New Republican had violated the Act by failing to

timely file a Statement of Candidacy and other required organizational and financial

disclosures, accepting funds that did not comply with FECA’s contribution

restrictions and disclosure requirements, and making or accepting unlawful

excessive contributions in the form of coordinated communications.




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      Despite the voluminous record evidence supporting End Citizens United’s

claims, three FEC Commissioners (“the controlling Commissioners”) voted—

contrary to the recommendation of the agency’s General Counsel—to dismiss the

complaints. Some portions of the dismissal relied on a purported invocation of the

FEC’s prosecutorial discretion, while other parts were explained only in one cursory

(and legally erroneous) footnote.

      Pursuant to FECA’s judicial review provision, End Citizens United filed this

suit, arguing that the FEC’s dismissals of its complaints were contrary to law because

the administrative record provided ample evidence to establish reason to believe that

the violations occurred and because the Commissioners’ explanation for dismissing

each claim was woefully deficient.

      The district court affirmed the dismissals, relying on misunderstandings of

applicable law—including this Court’s case law governing the invocation of

prosecutorial discretion—and erroneous characterizations of the Commission’s

actions. The district court erred in concluding that it lacked subject-matter

jurisdiction to review one of the FEC’s dismissals, as this Court has stated that

reviewability of FEC dismissals is not a jurisdictional issue. The court also erred by

finding the Commissioners’ invocation of prosecutorial discretion unreviewable

even though that invocation was premised on the Commissioners’ erroneous legal


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interpretation (which is subject to review). Further, in finding that the Commission’s

dismissal of End Citizens United’s coordination claims was not contrary to law, the

district court relied on a material misunderstanding of FECA’s requirements for a

successful coordination claim. The district court also failed to correctly analyze the

substance of that claim.

      Appellant End Citizens United asks this Court to reverse the district court’s

erroneous decision.

                        JURISDICTIONAL STATEMENT

      This Court has jurisdiction over this appeal from a final order of the U.S. District

Court for the District of Columbia under 28 U.S.C. § 1291 and 52 U.S.C. § 30109(a)(9).

Despite the district court’s conclusion otherwise, the district court had subject-matter

jurisdiction over the case under 28 U.S.C. § 1331 and 52 U.S.C. § 30109(a)(8)(A). End

Citizens United timely filed this appeal on October 17, 2022, within sixty days of the

district court’s memorandum opinion and order entered September 16, 2022, which

disposed of all of End Citizens United’s claims in this action.

                           STATEMENT OF THE ISSUES

      1.     Under FECA, reviewability of an FEC dismissal of an administrative

complaint is not a jurisdictional issue, even when the controlling Commissioners

have invoked the agency’s prosecutorial discretion as a basis for dismissal. The


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district court concluded that, because the controlling Commissioners’ Statement of

Reasons purported to exercise the agency’s prosecutorial discretion to dismiss End

Citizens United’s claims in Matter Under Review (“MUR”) 7370, the court lacked

subject-matter jurisdiction to review that dismissal. Did the district court err in

concluding that it lacked subject-matter jurisdiction to review the FEC’s dismissal of

MUR 7370?

      2.     An FEC dismissal is reviewable where the controlling Commissioners

referenced their merits analysis as a ground for exercising prosecutorial discretion.

The controlling Commissioners who voted to dismiss MUR 7370 referenced their

interpretation of the FEC’s test for when an individual becomes a candidate under the

Act as the basis for their purported exercise of the agency’s prosecutorial discretion.

Did the district court err in concluding that the controlling Commissioners’ invocation

of prosecutorial discretion rendered the dismissal of MUR 7370 unreviewable?

      3.     An FEC dismissal is contrary to law where the agency fails to adequately

 explain the rationale for its decision or bases its decision on an impermissible

 interpretation of law. The controlling Commissioners explained their decision to

 dismiss MUR 7496’s coordination claims in one footnote of an 11-page single-

 spaced, 53-footnote statement, which erroneously claims that the merits of the

 coordination claims depended on the success of unrelated claims. Did the district


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 court err in concluding that the dismissal of MUR 7496 was not contrary to law?

                          STATEMENT OF THE CASE

I.    Statutory and Regulatory Background

      A.     FECA’s Source and Amount Restrictions

      Congress enacted FECA in part to “limit the actuality and appearance of

corruption resulting from large individual financial contributions.” Buckley v. Valeo,

424 U.S. 1, 26 (1976) (per curiam). To do so, FECA restricts the sources and

amounts of contributions made “for the purpose of influencing any election for

Federal office.” 52 U.S.C. § 30101(8)(A)(i). As relevant here, individuals may

contribute no more than $2,900 per election to a federal candidate, and $5,000 per

year to a political committee. Id. § 30116(a)(1)(A), (C). A political committee (also

known as a “PAC”) is any group of persons whose major purpose is the nomination

or election of a federal candidate and that has contributed or spent at least $1,000 to

influence a federal election. Id. § 30101(4)(A). Political committees generally may

contribute no more than $5,000 per election to a candidate. Id. § 30116(a)(2)(A).

And corporations are prohibited from contributing any amount to federal candidates

and most political committees. Id. § 30118. Money subject to FECA’s limits is often

called “hard money” or “federal funds.” Republican Party of La. v. FEC, 219 F.

Supp. 3d 86, 89-90 (D.D.C. 2016).


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      B.     FECA’s Soft-Money Ban

      FECA reinforces its hard money limits by specifically prohibiting candidates

from raising and spending money that is not restricted by FECA’s limits, which is

often called “soft money” or “nonfederal funds.” Republican Party of La., 219 F.

Supp. 3d at 89-90. Under this so-called “soft-money ban,” candidates may not

“solicit, receive, direct, transfer, or spend funds in connection with [a federal]

election . . . unless the funds are subject to the [Act’s] limitations, prohibitions, and

reporting requirements.” 52 U.S.C. § 30125(e)(1). The soft-money ban also applies

to a candidate’s agents and any entity (including any political committee) “directly

or indirectly established, financed, maintained, or controlled by or acting on behalf

of” a candidate. Id. “To determine whether a [candidate] directly or indirectly

established, finances, maintains, or controls an entity” under § 30125(e)(1), the

Commission considers ten non-exhaustive factors “in the context of the overall

relationship between the [candidate] and the entity.” 11 C.F.R. § 300.2(c)(2).

      C.     The Prohibition on Super PAC Contributions to Candidates

      A “super PAC” is a type of political committee that is permitted to raise and

spend soft money, but only so long as the super PAC does not contribute to federal

candidates (who are subject to FECA’s limits). Campaign Legal Ctr. v. FEC, 520 F.

Supp. 3d 38, 43 (D.D.C. 2021). This prohibition on super PAC contributions to


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candidates extends to “coordinated communications,” which are a type of

coordinated expenditure that qualifies as an in-kind contribution under FECA. See

Campaign Legal Ctr. v. FEC, No. 19-2336 (JEB), --- F. Supp. 3d ----, 2022 WL

17496220, at *1 (D.D.C. Dec. 8, 2022); FEC Advisory Op. 2017-10 at 2 (Citizens

Against    Plutocracy)   (Sept.   20,   2017),   https://www.fec.gov/files/legal/aos/

83518.pdf. Candidates may not knowingly accept excessive or otherwise prohibited

contributions from super PACs. See 52 U.S.C. §§ 30116(f), 30118(a).

      D.     Candidacy

      FECA imposes various fundraising limits and disclosure requirements after

an individual becomes a “candidate” under the Act. Upon becoming a “candidate,”

an individual must file a Statement of Candidacy that designates her principal

campaign committee within fifteen days. 52 U.S.C. § 30102(e)(1); 11 C.F.R.

§ 101.1(a). That committee, in turn, has ten days from its designation to file a

Statement of Organization, 52 U.S.C. § 30103(a), and must thereafter file regular

disclosure reports with the FEC, 52 U.S.C. § 30104(a); 11 C.F.R. § 104.1(a). These

disclosure reports are important because they inform the electorate about sources of

political speech. See, e.g., Stop This Insanity Inc. Emp. Leadership Fund v. FEC,

761 F.3d 10, 16 (D.C. Cir. 2014) (emphasizing the “First Amendment rights of the

public to know the identity of those who seek to influence their vote”).


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      Under FECA, a “candidate” is “an individual who seeks nomination for

election, or election to Federal office”; that status is triggered when an individual (or

their agent) accepts or spends more than $5,000 for the purpose of influencing a

federal election. 52 U.S.C. § 30101(2). While the Commission’s “testing the waters”

exemptions allow an individual to raise and spend more than $5,000 without

becoming a candidate if that money is used solely to assess whether to commit to a

possible run, those exemptions are unavailable to an individual who has already

decided to become a candidate. See 11 C.F.R. §§ 100.72(b), .131(b). FEC regulations

establish an objective inquiry to determine whether an individual has become a

candidate. See id. §§ 100.72(b), .131(b); FEC Advisory Op. 2015-09 at 6 (Senate

Maj. PAC, et al.) (Nov. 13, 2015), https://www.fec.gov/files/legal/aos/2015-

09/2015-09.pdf; Factual and Legal Analysis at 7-8, MUR 5363 (Sharpton et al.)

(Nov. 13, 2003), https://eqs.fec.gov/eqsdocsMUR/000007F9.pdf. As part of that

inquiry, the FEC considers a non-exhaustive list of “activities that indicate that an

individual has decided to become a candidate.” 11 C.F.R. §§ 100.72(b), .131(b).

Among these activities is “rais[ing] funds in excess of what could reasonably be

expected to be used for exploratory activities or undertak[ing] activities designed to

amass campaign funds that would be spent after he or she becomes a candidate.” Id.

§§ 100.72(b)(2), .131(b)(2).


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      E.     The Statutory Framework for FEC Administrative Complaints

      Any person may file a complaint with the Commission alleging a violation of

FECA. 52 U.S.C. § 30109(a)(1). Based on the complaint and the FEC General

Counsel’s recommendations, the Commission then votes on whether to find “reason

to believe” that the subject of the complaint committed a violation. Id. § 30109(a)(2).

A decision to find reason to believe, which requires four affirmative votes, does not

trigger any penalties; rather, it initiates an investigation by the FEC. See id.; FEC,

Statement of Policy Regarding Commission Action in Matters at the Initial Stage in

the Enforcement Process, 72 Fed. Reg. 12,545, 12,545 (Mar. 16, 2007) (reason to

believe requires that “the available evidence . . . is at least sufficient to warrant

conducting an investigation”).

      Following a reason-to-believe investigation, and after considering input from

the agency’s General Counsel and the complaint’s respondent, the FEC determines

whether there is “probable cause to believe that [the respondent] has committed . . .

a [FECA] violation.” 52 § 30109(a)(3)-(4). If four Commissioners vote to find

probable cause, the agency may seek civil penalties either through a conciliation

agreement with the respondent or in federal court. Id. § 30109(a)(4)-(6).

      At any stage of its enforcement proceedings, the agency may vote to dismiss

the complaint. See, e.g., Common Cause v. FEC, 842 F.2d 436, 449 (D.C. Cir. 1988).


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“Any party aggrieved” by dismissal of its complaint may seek review in the

District Court for the District of Columbia. 52 U.S.C. § 30109(a)(8). For the FEC

to defend such a lawsuit, at least four Commissioners must vote to authorize the

defense. See 52 U.S.C. §§ 30106(c), 30107(a)(6). The court “may declare that the

dismissal . . . is contrary to law, and may direct the Commission to conform with

such declaration within 30 days.” 52 U.S.C. § 30109(a)(8). A dismissal is contrary

to law “if (1) the FEC dismissed the complaint as a result of an impermissible

interpretation of the Act, or (2) if the FEC’s dismissal of the complaint, under a

permissible interpretation of the statute, was arbitrary or capricious, or an abuse of

discretion.” Orloski v. FEC, 795 F.2d 156, 161 (D.C. Cir. 1986) (citations omitted).

      Should the agency fail to comply with an order directing it to conform, “the

complainant may bring . . . a civil action to remedy the violation.” 52

§ 30109(a)(8)(C).

II.   Statement of Facts

      A.     Scott Chairs New Republican, Which Then Supports His Senate
             Candidacy

      New Republican is a super PAC that registered with the FEC on May 8, 2013.

See JA163, 212. The organization’s stated purpose at its founding was “to advance .

. . ideas of what the next generation of Republicans . . . should represent” and support

candidates who fit the “New Republican” model. JA163. The committee was active
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during the 2013-2014 election cycle, but it made no independent expenditures during

the 2015-2016 cycle and, by May 2017, had not received any contributions in over

a year. JA212-13.

      In May 2017, Rick Scott, then Governor of Florida, became Chair of New

Republican. JA124. Upon joining the super PAC, Scott hired a number of political

allies to fill key roles, including his former chief of staff and campaign manager,

Melissa Stone, who was hired as New Republican’s executive director. JA124. New

Republican also contracted with Stone’s consulting firm, brought on a Scott

administration appointee as finance director, and retained Scott’s longtime

fundraiser, along with other consultants who had previously worked on Scott’s

campaigns. JA119, 124, 126, 130, 213. The super PAC further revised its stated

mission to include “rebrand[ing] the way the Republican Party approaches the

challenges of the future” and supporting President Trump. JA124, 213.

      Although Scott himself had not publicly declared his candidacy in Florida’s

2018 Senate election when he joined New Republican, media reports at the time

indicated that “political strategists in both parties viewed New Republican ‘as a

vehicle to raise money ahead of Scott’s anticipated bid to unseat Democratic U.S.

Sen. Bill Nelson in 2018.’” JA138, 213-14. A former Scott spokesman explained

that “[h]e is running for Senate. That’s all this is about.” JA138.


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       After Scott’s hiring, New Republican greatly expanded its fundraising, taking

in more than $275,000 during Scott’s first three weeks, nearly $1.2 million by the

end of 2017, and a further $1.2 million in the first quarter of 2018. JA118, 125, 214.

These contributions included both corporate and unlimited contributions. JA214.

Still, New Republican did not increase its spending: under Scott, the organization

continued to make no independent expenditures in support of any candidates, and it

aired no issue ads. JA214.

       Scott claimed to have stepped down from his role with New Republican in

December 2017. JA153. But the super PAC’s website identified him as Chair until

at least January 18, 2018. JA215, 227. In addition, a spokesman for the Scott

Campaign, in April 2018, indicated that Scott had remained with New Republican

until February 2018, JA215-16, 227, and media reports identified him as Chair as

late as March 3, 2018, JA176, 215-16. Scott also remained involved in the

organization’s fundraising well into 2018. On March 3, he was a “featured guest” at

a New Republican fundraiser in his own home, JA136, 153, 216, and he participated

in a conference call with the super PAC’s donors on August 29, JA214, 217. Scott

allies also remained with the organization after his ostensible departure. See JA167,

215.




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      After Scott stepped down as Chair—but before he publicly declared his Senate

candidacy—New Republican commissioned and paid for a poll testing Scott’s

competitiveness against Bill Nelson, the Democratic incumbent (the only such poll

the super PAC commissioned for any candidate). JA146-47, 168, 172 ¶ 6, 217. The

poll was commissioned on March 1 or 2, conducted between March 10 and 13, and

paid for on March 14. Id. Scott did not publicly declare his candidacy in Florida’s

2018 Senate election until April 9. JA153. He filed his Statement of Candidacy with

the FEC on April 8, 2018, and his campaign submitted a Statement of Organization

on April 10 and began filing disclosure reports later that year. JA153. The Scott

Campaign’s first disclosure report listed testing-the-waters expenses of over

$166,500 beginning in January 2018 but did not reveal any earlier contributions or

expenditures, or the poll testing by New Republican. JA210-11.

      On April 9—the same day Scott announced his Senate run—New Republican

updated its website and mission statement to support his candidacy. JA120, 217,

223. In a press release, the super PAC announced its new “focus[] on the election of

Rick Scott,” JA143, 217, while the revamped website—designed in February and

paid for in March, before Scott publicly declared—included such features as an

“About Rick” page and details on Scott’s political positions, JA120, 147, 168, 223.




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      Less than a month later, on May 3, New Republican released a television

advertisement attacking Nelson, thereby expressly supporting Scott’s candidacy.

JA177, 185. The super PAC launched another advertisement for television and social

media on June 11, calling on voters to “Term Limit Career Politician Bill Nelson.”

JA177, 185. Ultimately, between May and November 2018, New Republican made

over $30.5 million in independent expenditures, more than $29.5 million of which

were in support of Scott or in opposition to Nelson. JA218.

      B.     End Citizens United Files Two Administrative Complaints

      Drawing on publicly available information about Scott’s relationship with

New Republican, End Citizens United filed two administrative complaints alleging

several distinct violations of FECA by Scott, his campaign, and New Republican. In

its first complaint, filed on April 10, 2018, and supplemented on April 17, End

Citizens United asked the Commission to find reason to believe that (1) Scott had

failed to timely file a Statement of Candidacy (the “candidacy-filing claim”) under

52 U.S.C. § 30102(e)(1); (2) the Scott Campaign had failed to timely file a Statement

of Organization (the “organization-filing claim”) under 52 U.S.C. § 30103(a); (3)

the Scott Campaign had failed to submit required financial disclosures (the

“nondisclosure claim”) under 52 U.S.C. § 30104; (4) Scott violated the soft-money

ban of 52 U.S.C. § 30125(e); and (5) New Republican violated the soft-money ban.


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JA120-22. The FEC designated the matter initiated by this complaint as MUR 7370.

JA118.

      End Citizens United’s second complaint, filed on September 5, 2018, asked

the Commission to find reason to believe that the advertisements run by New

Republican in May and June of 2018 had been made in coordination with Scott and

his campaign, such that New Republican made, and Scott and his campaign

accepted, unlawful in-kind contributions (the “coordination claims”). JA178-82. The

FEC designated the matter initiated by this second complaint as MUR 7496. JA175.

      C.    The FEC’s General Counsel Recommends Finding Reason to
            Believe and Investigating the Complaints

      Based on End Citizens United’s administrative complaints; written responses

by Scott, his campaign, and New Republican; and all other available evidence, the

FEC’s General Counsel recommended that the Commission find reason to believe

the respondents had broken the law as alleged in the candidacy-filing claim, the

organization-filing claim, the nondisclosure claim, and the soft-money ban claim

against New Republican. JA210. Because investigating these claims could reveal

information material to End Citizens United’s remaining claims, the General

Counsel further recommended that the Commission “take no action at this time” on

the soft-money ban claim against Scott and the coordination claims against Scott,

the Scott Campaign, and New Republican. JA210, 229-30, 232-33.
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      The General Counsel based her reason-to-believe recommendations on two

primary conclusions. First, “the available information indicate[d] that Scott became

a federal candidate as early as 2017 because, as Chair of New Republican, he

undertook activities designed to amass funds that were to be spent on supporting his

Senate candidacy after he declared such candidacy in April 2018.” JA221. Second,

in light of this determination, “the available information supports a reasonable

inference that Scott controlled New Republican and that New Republican and Scott

were thus subject to the Act’s soft money prohibitions from the time that Scott

became a federal candidate.” JA226.

      D.    The Commission Deadlocks 3-3 and Then Votes to Dismiss End
            Citizens United’s Claims

      On May 20, 2021, the FEC deadlocked 3-3 on a motion to approve the General

Counsel’s recommendations. JA270-71. The motion failed because approving a

reason-to-believe finding requires four affirmative votes. 52 U.S.C. § 30109(a)(2).

      On June 10, the Commission, also by a 3-3 vote, declined to dismiss, under

Heckler v. Chaney, 470 U.S. 821 (1985), the candidacy-filing, organization-filing,

and nondisclosure claims. JA272. By the same margin, the FEC rejected a motion to

find no reason to believe that New Republican violated the soft-money ban and to

dismiss the remainder of the allegations. JA272-73. In light of these deadlocks, the



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FEC then voted 5-1 to “[c]lose the file” on Appellant’s administrative complaints,

thereby dismissing them. JA273.

      Two of the three Commissioners who voted to approve the General Counsel’s

recommendations issued a Statement of Reasons on July 15, explaining their votes

and criticizing the FEC’s failure to pursue End Citizens United’s “well-supported

allegations.” JA274-80.

      Subsequently, on July 21, the three Commissioners who voted to reject the

General Counsel’s recommendations issued a Statement of Reasons (the

“Statement”) purporting to explain the basis for their decisions. JA281-91. The

Statement indicated that the controlling Commissioners had concluded there was no

reason to believe that New Republican had violated the soft-money ban, and further

claimed that they had “dismissed the allegations that Scott untimely filed his

candidacy and organization paperwork under Heckler v. Chaney.” JA282. The

controlling Commissioners then dismissed the remaining claims—the coordination

claims and Scott’s soft-money violations—asserting that “[a]ll of those allegations

would have required, at a minimum, a threshold finding that Scott had failed to file

a statement of candidacy at the appropriate time or that New Republican had violated

the soft money rules.” JA282 n.2.




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III.   Procedural History

       End Citizens United filed this action in the district court on August 9, 2021,

challenging the FEC’s dismissal of its administrative complaints as contrary to law.

Compl., ECF No. 1. The Commission failed to appear, plead, or otherwise defend

the action, and the Clerk of Court entered a certificate of default against the agency

on November 2, 2021. See ECF No. 12. Prior to that default, on October 15, 2021,

New Republican moved to intervene as a defendant, filing a proposed answer and

motion to dismiss. See ECF Nos. 9, 14-15, 22. The district court granted New

Republican’s motion to intervene. See Minute Order (Nov. 2, 2021). End Citizens

United then filed a motion for default judgment or, in the alternative, summary

judgment. See ECF No. 23. New Republican filed a cross motion for summary

judgment. See ECF No. 27.

       On September 16, 2022, the district court granted summary judgment for New

Republican, denied End Citizens United’s motion for default judgment or summary

judgment, and denied New Republican’s motion to dismiss as moot. See JA97-113.

The court concluded that it lacked jurisdiction to review the FEC’s dismissal of

MUR 7370—regarding the candidacy-filing, organization-filing, nondisclosure, and

soft-money claims—because the Commission invoked prosecutorial discretion to

dismiss the complaint. See JA107-10. The court further concluded that the FEC’s


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dismissal of MUR 7496—regarding the coordination claims—was not contrary to

law. See JA110-13.

                          SUMMARY OF ARGUMENT

       The Court should reverse the district court’s ruling because it rests on a series

of legal errors.

       First, the district court erred in concluding that it lacked subject-matter

jurisdiction to review the FEC’s dismissal of MUR 7370. Under FECA,

“reviewability is not a jurisdictional issue,” even when the controlling

Commissioners have invoked the agency’s prosecutorial discretion as a basis for

dismissal. Campaign Legal Ctr. & Democracy 21 v. FEC, 952 F.3d 352, 356 (D.C.

Cir. 2020) (per curiam) [hereinafter “Democracy 21”]. Because the Administrative

Procedure Act (“APA”) does not grant or confer jurisdiction, the court retains

jurisdiction under 28 U.S.C. § 1331 to review agency action, even where that action

is unreviewable under the APA because it is committed to agency discretion by law.

Accordingly, the district court erred in holding that the controlling Commissioners’

purported invocation of prosecutorial discretion in their dismissal of MUR 7370

eliminated the court’s subject-matter jurisdiction.

       Second, even if FECA reviewability were a jurisdictional issue, which it is

not, the district court erred in finding that it lacked jurisdiction because the FEC’s


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dismissal of MUR 7370 is reviewable. The district court concluded that the

controlling Commissioners’ invocation of prosecutorial discretion acted as “an

absolute bar” to reviewability. See JA106. But while FEC dismissals based on

prosecutorial discretion are sometimes unreviewable, a dismissal is reviewable

where the controlling Commissioners “reference[d] their merits analysis as a ground

for exercising prosecutorial discretion.” Citizens for Responsibility & Ethics in

Washington [(“CREW”)] v. FEC, 55 F.4th 918, 920-21 (D.C. Cir. 2022) [hereinafter

“New Models II”] (Rao, J., concurring in denial of reh’g en banc). 1 Such is the case

here, where the controlling Commissioners rested their purported invocation of

prosecutorial discretion squarely on their (erroneous) legal conclusion that

determining when Scott became a candidate under FECA would require “prob[ing]

his subjective intent.” JA290. Accordingly, the district court erred in concluding that

the invocation of prosecutorial discretion rendered the dismissal unreviewable, as

the Statement of Reasons makes clear that the controlling Commissioners’

interpretation of FECA and FEC regulations underlies all their justifications for

employing the agency’s discretion.




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       To differentiate between cases brought by Citizens for Responsibility and
Ethics in Washington against the FEC, this brief refers to each case by the name of
the respondent in the underlying administrative matter.
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      Third, the district court erred in finding the FEC’s dismissal of MUR 7496

(concerning the coordination claims) not contrary to law. The FEC’s “reason to

believe” standard sets a low bar, and the administrative record provided ample

reason for the FEC to investigate whether Scott, his campaign, and New Republican

coordinated a pair of advertisements aired by the super PAC in May and June 2018,

resulting in unlawful contributions from New Republican to the Scott Campaign.

See, e.g., JA177, 185. Disregarding the evidence, the controlling Commissioners:

(1) dismissed the coordination claims without engaging with the merits of those

claims, see JA281-82 nn.1 & 2; and (2) based their decision on a blatantly

“impermissible interpretation” of FECA, Orloski, 795 F.2d at 161, namely that the

fate of the coordination claims depended on the merits of the candidacy-filing and

soft-money claims, see JA282 n.2. The district court, nevertheless, found the

dismissal of MUR 7496 reasonable, see JA110-13; in so doing, it disregarded and

misinterpreted the record evidence, and endorsed, rather than corrected, the

controlling Commissioners’ clear legal errors.

                           STANDARD OF REVIEW

      This Court reviews a district court’s grant of summary judgment de novo. See,

e.g., Democracy 21, 952 F.3d at 356. Summary judgment is only appropriate where




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“the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

       Moreover, although this Court reviews the decision whether to grant a default

judgment for abuse of discretion, “a district court . . . necessarily abuses its discretion

if it bases its ruling on an error of law” or “a clearly erroneous assessment of the

evidence.” Fraenkel v. Islamic Republic of Iran, 892 F.3d 348, 356 (D.C. Cir. 2018)

(cleaned up).

                                     ARGUMENT

I.     The District Court Erred in Finding that It Lacked Subject-Matter
       Jurisdiction to Review the FEC’s Dismissal of MUR 7370

       The district court erred in concluding that it lacked subject-matter jurisdiction

to review the FEC’s dismissal of MUR 7370, concerning the candidacy-filing,

organization-filing, nondisclosure, and soft-money claims. The district court

reasoned that because the controlling Commissioners’ Statement purported to

exercise the agency’s prosecutorial discretion to dismiss those claims, the dismissal

was unreviewable and, thus, the court lacked subject-matter jurisdiction. See JA107-

10. But this analysis rests on two independent legal errors. First, the controlling

Commissioners invocation of prosecutorial discretion in this case did not affect the

district court’s jurisdiction, because “reviewability [under FECA] is not a

jurisdictional issue.” Democracy 21, 952 F.3d at 355. Second, and in any case, the
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controlling Commissioners’ invocation of prosecutorial discretion did not render the

dismissal of MUR 7370 unreviewable.

      A.     Reviewability Under FECA Is Not a Jurisdictional Issue

      Contrary to the district court’s assertion, see JA107, the controlling

Commissioners invocation of the agency’s prosecutorial discretion did not affect the

district court’s jurisdiction to adjudicate MUR 7370’s claims.

      The law is clear: under FECA, “reviewability is not a jurisdictional issue.”

Democracy 21, 952 F.3d at 355 (citing People for the Ethical Treatment of Animals

v. U.S. Dep’t of Agric., 797 F.3d 1087, 1097-98 (D.C. Cir. 2015)). This Court has

explained that FEC dismissals independently based on prosecutorial discretion are

unreviewable because, under APA § 701(a)(2), courts cannot question “agency

action . . . committed to agency discretion by law.” CREW v. FEC, 993 F.3d 880,

888 (D.C. Cir. 2021) [hereinafter “New Models”]. Nevertheless, a court retains

jurisdiction over a challenge to such agency action under 28 U.S.C. § 1331 because

“Section 701(a)(2) of the APA is not . . . a jurisdictional bar.” People for the Ethical

Treatment of Animals, 797 F.3d at 1097 (citation omitted); see also Oryszak v.

Sullivan, 576 F.3d 522, 524 (D.C. Cir. 2009) (“[W]e conclude [that APA

§ 701(a)(2)] is not a jurisdictional bar.”); Trudeau v. FTC, 456 F.3d 178, 185 (D.C.

Cir. 2006) (“[T]he APA neither confers nor restricts jurisdiction.”); Sierra Club v.


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Jackson, 648 F.3d 848, 854 (D.C. Cir. 2011) (“Applying Oryszak and Trudeau, we

conclude that a complaint seeking review [under APA] § 701(a)(2), . . . should be

dismissed under Rule 12(b)(6), not under the jurisdictional provision of Rule

12(b)(1).”).

      In Democracy 21, for example, the controlling Commissioners who voted not

to pursue a group of administrative complaints cited, among other reasons for their

decision, the Commission’s prosecutorial discretion. See 952 F.3d at 355. The

agency argued that this invocation of prosecutorial discretion rendered the dismissals

unreviewable, which the plaintiffs disputed. See id. at 356. But the court declined to

address the reviewability question, stating that it was not jurisdictional, and instead

decided the plaintiffs’ contrary-to-law claims on the merits—a choice the court

could not have made if the controlling Commissioners’ invocation of prosecutorial

discretion disposed of its underlying jurisdiction. See id. at 356-57.

      The district court was therefore incorrect when it concluded that “the FEC’s

reliance on prosecutorial discretion . . . , even in part, divests a reviewing court of

jurisdiction.” JA107. The district court relied on New Models for that proposition,

id., but that reliance is misplaced. At no point did New Models describe FECA

reviewability as a jurisdictional issue; indeed, even though the Court concluded that

an FEC dismissal was unreviewable, it affirmed a grant a summary judgment, rather


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than dismissing for lack of subject-matter jurisdiction. See 993 F.3d at 895. Other

than New Models, the court below relied on two district court opinions, neither of

which support its ruling, and both of which have been appealed. See JA105 (citing

End Citizens United PAC v. FEC, No. 21-1665 (TJK), 2022 WL 1136062, at *3

(D.D.C. Apr. 18, 2022), appeal filed June 23, 2022; CREW v. Am. Action Network,

590 F. Supp. 3d 164, 173-74 (D.D.C. Mar. 2, 2022), appeal filed Mar. 31, 2022). 2

      Under this Court’s precedents, the district court erred in dismissing End

Citizens United’s claims for lack of subject-matter jurisdiction.

      B.      The FEC’s Dismissal of MUR 7370 Is Reviewable

      Even if FECA reviewability were a jurisdictional issue, the district court

nevertheless had jurisdiction because the FEC’s dismissal of MUR 7370 is

reviewable.

      The district court erred in concluding otherwise. It reasoned that, in the

controlling Commissioners’ Statement, “the FEC expressly exercised its

prosecutorial discretion,” and that this alleged exercise acted as “an absolute bar” to

the district court’s ability to review the dismissal. JA107-08 (cleaned up). Although


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       In End Citizens United PAC (No. 21-cv-1665), the district court mistakenly
relied on two inapposite district court opinions not involving the FEC or FECA. See
2022 WL 1136062 at *3. In American Action Network, the district court never once
said that it was dismissing the case for lack of jurisdiction. See 590 F. Supp. 3d at
165-75.
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this Court has explained that FEC dismissals based on prosecutorial discretion are

sometimes unreviewable, see New Models, 993 F.3d at 884-85; CREW v. FEC, 892

F.3d 434, 440-42 (D.C. Cir. 2018) [hereinafter “Commission on Hope”], the CREW

decisions do not preclude review here.

              1.   The Controlling Commissioners Invoked Their Legal
                   Analysis as Grounds for Exercising Prosecutorial Discretion

      The district court erred by concluding that the dismissal of MUR 7370 was

unreviewable because—as the court acknowledged, JA109—the controlling

Commissioners referenced their interpretation of FECA as a basis for exercising

prosecutorial discretion. The dismissal thus depended on the controlling

Commissioners’ legal analysis, which this Court has held is subject to contrary-to-

law review.

      The FEC’s decision to dismiss a claim is reviewable where that decision was

made “on the basis of its interpretation of FECA.” Comm’n on Hope, 892 F.3d at

441 n.11; see also New Models, 993 F.3d at 884. Although an FEC dismissal is

unreviewable when it “rests even in part on prosecutorial discretion,” New Models,

993 F.3d at 885, that is true only where prosecutorial discretion provides an

independent basis for dismissal, distinct from any FECA interpretation. For

example, in New Models the dismissal there “rested on two distinct grounds: the

Commission’s interpretation of FECA and its exercise of prosecutorial discretion.”
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Id. at 884 (cleaned up) (emphases added); see also id. at 887 (emphasizing that

“prosecutorial discretion [had been] exercised in addition to the legal grounds”

offered by the agency) (emphasis in original). Moreover, the agency’s invocation of

prosecutorial discretion was not premised on its interpretation of FECA, but instead

“rested squarely on prudential and discretionary considerations relating to resource

allegation and the likelihood of successful enforcement.” Id. at 886 (emphasis

added); see also id. (stressing that the FEC offered these considerations “in addition

to its legal analysis of FECA’s . . . requirements”). Because the invocation of

prosecutorial discretion provided a separate “basis for dismissal,” the Court

explained, a ruling that the controlling Commissioners’ interpretation of FECA was

contrary to law would effectively be an advisory opinion that “would not affect the

Commission’s ultimate decision to dismiss.” Id. at 889.

      This point was recently reiterated and expounded upon by four members of

this Court, including the author of the New Models decision, in an opinion

concurring in the Court’s denial of a petition to rehear New Models en banc. That

opinion emphasized that an FEC dismissal is unreviewable where the statement of

reasons specifies that the controlling Commissioners “relied on an independent

ground of prosecutorial discretion,” but not where those Commissioners “referenced

their merits analysis as a ground for exercising prosecutorial discretion.” New


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Models II, 55 F.4th at 920-21 (Rao, J., concurring in denial of reh’g en banc)

(cleaned up) (emphasis added).

      Here, unlike in New Models, the controlling Commissioners rested their

purported invocation of prosecutorial discretion on a legal conclusion about FECA:

that determining when Scott became a candidate would require “prob[ing] his

subjective intent.” JA290. But the controlling Commissioners are wrong.

Commission regulations and precedent make clear the objectivity of the candidacy

inquiry: those rules examine whether the individual has engaged in “activities that

indicate that [that] individual has decided to become a candidate.” 11 C.F.R.

§§ 100.72(b), 100.131(b) (emphasis added). As the General Counsel explained in

this matter, under these regulations, “[t]he Commission . . . assesses an individual’s

objectively deliberate actions to discern whether and when an individual decided to

become a candidate.” JA221. While the “activities” listed in the testing-the-waters

regulations may serve as proxies for an individual’s subjective intent, the ultimate

inquiry turns on whether the potential candidate has engaged in those activities—an

objective fact—and not the individual’s subjective state of mind. See FEC Advisory

Op. 2015-09 at 5-6 (Senate Maj. PAC, et al.); Factual and Legal Analysis at 7-8,

MUR 5363 (Sharpton et al.) (Nov. 13, 2003). Indeed, the controlling Commissioners

themselves concede that the FEC’s candidacy regulations identify indicia of


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candidacy that “are fairly intuitive and objective.” JA286 (citing 11 C.F.R.

§§ 100.72(b)(2), 100.131).

      Nevertheless, to reach its conclusion that the dismissal is unreviewable, the

district court summarily endorsed the Statement’s incorrect finding that it would be

necessary to probe Scott’s subjective intent. See JA109. In doing so, the district court

mischaracterized End Citizens United’s argument that the candidacy inquiry is

determined by objective factors as claiming that “subjective intent is irrelevant” to

candidacy, and misread FEC Advisory Opinion 2015-09 (Senate Maj. PAC, et al.).

See id. While that opinion indicates that a subjective intent to run would suffice to

make an individual a candidate, see FEC Advisory Opinion 2015-09 at 5 (Senate

Maj. PAC, et al.), it also explains that the Commission will look ultimately at

“objective indication[s]” of candidates’ intent to run—even when the candidate

asserts a subjective intent not to do so, id. at 6. The advisory opinion therefore does

not support the Statement’s claim that it would have been necessary to probe Scott’s

subjective intent. JA290.

      Even if the controlling Commissioners had been correct about the nature of

the FEC’s candidacy test, because those Commissioners “reference[d] their merits

analysis as a ground for exercising prosecutorial discretion,” New Models II, 55

F.4th at 920 (Rao, J., concurring in denial of reh’g en banc) (cleaned up), that


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analysis is subject to judicial review under FECA’s contrary to law standard. In

contrast to an invocation of prosecutorial discretion premised entirely on prudential

and discretionary considerations—like that in New Models—here, there was a

meaningful standard against which to judge the Commissioners’ exercise of

discretion: FECA provisions and FEC regulations defining the FEC’s objective

analysis for when an individual has become a candidate.

      The district court even acknowledged that the controlling Commissioners

referenced their merits analysis as a ground for exercising their prosecutorial

discretion, specifically identifying “the inherent difficulty of assessing Scott’s

subjective intent” as “one of multiple factors the controlling Commissioners cited in

exercising their prosecutorial discretion.” JA109. That finding alone compels the

conclusion that the controlling Commissioners’ invocation of prosecutorial

discretion depended on their assessment of the merits and, thus, is not insulated from

judicial review. The district court, however, continued to maintain that the dismissal

was unreviewable for two incorrect reasons.

      First, the district court stated that the controlling Commissioners’

interpretation of FECA was “only one of multiple factors the controlling

Commissioners cited in exercising their prosecutorial discretion, alongside limited

agency resources and a ‘substantial backlog of cases.’” JA109. Even so, the decision


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is reviewable because it nevertheless “rests solely on legal interpretation.” New

Models, 993 F.3d at 884. As the Statement makes clear, the cited resource and

backlog concerns are dependent on the controlling Commissioners’ (incorrect)

interpretation of FECA: the Statement’s alleged concern about “authorizing an

expensive and resource consuming investigation while the Commission is still

working through a backlog of cases” is directly premised on the controlling

Commissioners’ view that FECA’s candidacy determination would require

“prob[ing Scott’s] subjective intent” (which the Statement claims would, in turn,

require a “wide-ranging, costly, and invasive investigation”). JA290. Tellingly, the

Statement does not claim that the controlling Commissioners would have exercised

prosecutorial discretion even if their view of the FEC’s candidacy test were

incorrect. JA290. Because the invocation of discretion was thus dependent on the

controlling Commissioners’ view of FECA, the dismissal was reviewable.

      Second, the district court also erred when it concluded that the legal analysis

undergirding the invocation of prosecutorial discretion must be “erroneous” for the

dismissal to be reviewable. See JA109 (faulting End Citizens United for

“identif[ying] no legal error underlying” the assertion of prosecutorial discretion)

(emphasis in original). Putting aside the fact that the controlling Commissioners’

legal analysis in this case was erroneous, see supra p. 28, the district court’s


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reasoning puts the merits cart before the reviewability horse. An FEC dismissal is

reviewable whenever that decision was made “on the basis of its interpretation of

FECA,” Comm’n on Hope, 892 F.3d at 441 n.11, whether that interpretation is later

determined to be correct or not. Accordingly, once the district court concluded that

the controlling Commissioners “reference[d] their merits analysis as a ground for

exercising prosecutorial discretion,” New Models II, 55 F.4th at 920 (Rao, J.,

concurring in denial of reh’g en banc); see also JA109, it should have concluded that

the legal reasoning underpinning the dismissal of MUR 7370 was reviewable and

then conducted a full “contrary-to-law” review.

      Because the controlling Commissioners based their exercise of prosecutorial

discretion solely on their view of the merits of the case, the dismissal of MUR 7370

is reviewable, and the district court erred in concluding otherwise.

             2.    The District Court’s Decision Rests on Precedent That
                   Should Not Be Followed Because It Is Inconsistent with Fixed
                   Law

      For the reasons explained above, Commission on Hope and New Models are

readily distinguishable from this case. But in the event the Court disagrees, End

Citizens United notes that both those divided panel decisions rest on a premise

contradicted by FECA and governing precedent: that FEC dismissal decisions are

“control[led]” by Heckler and its “presumption” that “an agency’s decision not to


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undertake enforcement” is unreviewable. Comm’n on Hope, 892 F.3d at 439. As the

Supreme Court has confirmed, FECA “explicitly indicates the contrary.” Akins, 524

U.S. at 26; see also Akins v. FEC, 101 F.3d 731, 734 (D.C. Cir. 1996) (en banc)

(noting that FECA “permits a complainant to bring to federal court an agency’s

refusal to institute enforcement proceedings”), vacated on other grounds by 524 U.S.

11 (1998); Chamber of Com. v. FEC, 69 F.3d 600, 603 (D.C. Cir. 1995) (holding

that a dismissal based on the FEC’s “unwillingness” to proceed is subject to judicial

review); Democratic Congressional Campaign Comm. v. FEC, 831 F.2d 1131,

1134-35 & n.5 (D.C. Cir. 1987) (declining to “confin[e] the judicial check [in

§ 30109(a)(8)(C)] to cases in which . . . Commission acts on the merits”); Orloski,

795 F.2d 156 (recognizing dismissals could be contrary to law either because they

contained legal error or because they were otherwise arbitrary, capricious, or an

abuse of discretion). Indeed, because “[t]he law of the circuit . . . was well

established long before the decision in [Commission on Hope],” Democracy 21, 952

F.3d at 362 (Edwards, J., concurring) (citations omitted), it is that prior law that must

be given effect, see Sierra Club v. Jackson, 648 F.3d 848, 854 (D.C. Cir. 2011)

(“[W]hen a decision of one panel is inconsistent with the decision of a prior panel,

the norm is that the later decision, being in violation of that fixed law, cannot

prevail.”).


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                                   *      *      *

      For the foregoing reasons, the district court erred in concluding that it lacked

subject-matter jurisdiction to review the FEC’s dismissal of MUR 7370.

II.   The District Court Erred in Finding the FEC’s Dismissal of MUR 7496
      Not Contrary to Law

      The district court also erred in finding that the FEC did not act contrary to law

by dismissing MUR 7496, regarding the coordination claims. First, the dismissal

was contrary to law both because the controlling Commissioners failed to adequately

explain their decision to dismiss these allegations, and because End Citizens United

credibly alleged that the Scott Campaign and New Republican coordinated. Second,

the district court erred in concluding that the dismissal was reasonable because the

court overlooked the Statement’s clear legal errors and misinterpreted the

administrative record.

      A.     The FEC’s Dismissal of MUR 7496 Was Contrary to Law

      The FEC acted contrary to law when it dismissed MUR 7496 by failing both

to adequately explain its decision and to find reason to believe a violation occurred.

      To satisfy the reason-to-believe standard, “the available evidence in the

matter” need only be “at least sufficient to warrant conducting an investigation” into

the serious violations alleged. FEC Statement of Policy, 72 Fed. Reg. at 12,545. This

standard presents a “low bar,” which requires “only a credible allegation” of
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wrongdoing, and “does not require ‘conclusive evidence’ that a violation occurred

or even ‘evidence supporting probable cause’ for finding a violation.” Campaign

Legal Ctr., 2022 WL 17496220 at *8. This low bar was easily satisfied here.

          Under FECA, super PACs may not contribute to candidates or their authorized

committees by making coordinated communications. See supra pp. 7-8. Candidates,

likewise, are prohibited from accepting such contributions from super PACs. Id.

FEC rules create a three-part test to assess whether a communication is coordinated

and, therefore, an in-kind contribution. See 11 C.F.R. § 109.21(a).

          The record establishes, at a minimum, that there is reason to believe that the

May and June 2018 advertisements qualified as coordinated communications. As the

administrative respondents did not dispute, the May and June 2018 advertisements

satisfy the first two elements of the coordinated-communication test. See JA231.

First, because New Republican paid for the commercials, the communications were

“paid for . . . by a person other than [the] candidate” or his authorized committee. 11

C.F.R. § 109.21(a)(1). Second, because the commercials aired on public television

and expressly advocated the defeat of Scott’s opponent, Bill Nelson, they satisfied

the second prong of the coordinated-communication test. See id. § 109.21(a)(2),

(c)(3).




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      The administrative record also establishes reason to believe that the

advertisements satisfy the third prong of the coordinated-communications test,

which requires that the communication meet one or more of the FEC’s so-called

“conduct standards.” Id. § 109.21(a)(3). A conduct standard is satisfied where a

communication is either “created, produced, or distributed at the request or

suggestion of a candidate,” id. § 109.21(d)(1), or “created, produced, or distributed

after one or more substantial discussions about the communication between” the

payor or its agents and the candidate whom the message benefits, during which

discussions “[material] information about the candidate’s . . . campaign plans,

projects, activities, or needs is conveyed to [the entity] paying for the

communication,” id. § 109.21(d)(3).

      There is reason to believe that at least one of these two conduct standards is

satisfied here because End Citizens United credibly alleged that Scott either

requested that his allies at New Republican produce the advertisements to benefit

his campaign, or at least had material discussions with those allies that affected the

super PAC’s decisionmaking with respect to the communications. The record

demonstrates that in May 2017, Scott took control of New Republican, JA33, 35,

153, 165, 170, 226; staffed it with political allies, JA33, 35, 226; used it to raise

funds in service of his imminent Senate campaign, JA118, 125, 214; ran it until at


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least December 2017, and likely longer, JA136, 153, 176, 214-17, 227; remained

involved in the super PAC’s fundraising until at least March 2018, JA45, 153, 216;

and participated in a conference call with donors in August 2018, JA204, 217.

Indeed, the FEC’s General Counsel concluded that the record indicates that Scott

was involved with New Republican “well into 2018,” and during that time, the super

PAC “served as a vehicle to amass funds that would benefit Scott’s candidacy for

U.S. Senate.” JA210. The ads at issue aired only shortly after Scott’s departure from

the super PAC and mere weeks after his participation in the March 2018 fundraiser,

and all while key Scott allies continued to hold high-ranking positions within New

Republican. See JA167 (noting that Scott’s former chief of staff and campaign

manager was a senior adviser to New Republican when the advertisements aired).

      Despite this record evidence and the reason-to-believe standard’s “low bar,”

the controlling Commissioners dismissed the coordination claims in a decision that

is contrary to law for two reasons. First, the Statement provides almost no

explanation for the dismissal. See JA281-82 nn.1 & 2, 285-91. This lack of reasoning

renders the dismissal contrary to law. See Motor Vehicle Mfrs. Ass’n of the U.S. v.

State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (explaining that agency

action is arbitrary and capricious where the agency fails to “articulate a satisfactory

explanation for its action”); see also Robertson v. FEC, 45 F.3d 486, 493 (D.C. Cir.


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1995) (holding that a statement of reasons that was too “terse” in rejecting an

argument “without elaboration” failed “to meet the standard of reasoned agency

decisionmaking”).

      At no point in their 11-page single-spaced, 53-footnote Statement of Reasons

did the controlling Commissioners assess the merits of the coordination claims.

Indeed, the Statement’s only fleeting reference to the coordination allegation appears

in a footnote summarizing the General Counsel’s Report. See JA281 n.1 (“[The

General Counsel] also recommended taking no action at this time regarding various

other allegations, such as whether Scott himself violated the soft money rules, and

whether communications disseminated by New Republican PAC constituted illegal

coordination with Scott’s allegedly untimely-filed campaign.”) (citations omitted).

Absent any substantive discussion of the coordinated-communications issue, the

Statement of Reasons cannot meet the controlling Commissioners’ burden to supply

a “satisfactory explanation” for their decision. State Farm, 463 U.S. at 43.

      Second, the dismissal of the coordination claims was contrary to law for the

independent reason that, to the extent the controlling Commissioners provided any

rationale for the dismissal, they relied on “an impermissible interpretation” of

FECA. Orloski, 795 F.2d at 161; see also ECF No. 23 at 35-36. In the Statement’s

second footnote, the controlling Commissioners’ offered a catchall rationale for


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dismissing “the remainder of the allegations against” the administrative respondents,

including the coordination claims. See JA282 n.2 (“Footnote 2”). Footnote 2 then

states that “[a]ll of those allegations would have required . . . a threshold finding that

Scott had failed to file a statement of candidacy at the appropriate time, or that New

Republican had violated the soft money rules.” Id.

      But as End Citizens United explained to the district court, see ECF No. 23 at

35-36, that statement is a clear legal error: the merits of the coordination claims in

MUR 7496 do not depend on the success of the claims in MUR 7370, which allege

that Scott became a candidate in 2017 and subsequently violated the soft-money ban

by fundraising for New Republican. The Commission could have determined that

MUR 7370 failed on its merits because Scott did not become a candidate at some

point in 2017, while also concluding that, after Scott’s April 2018 announcement of

candidacy, he had unlawfully coordinated with New Republican on the airing of its

May and June 2018 advertisements supporting the Scott Campaign. Whether Scott

and New Republican coordinated those ads turns on whether “New Republican used

strategic campaign information obtained from Scott in the development of the

advertisement[s] and that the advertisement were created, produced, or distributed

at the request or suggestion of” Scott while he was a candidate. JA231-32 (internal

quotation marks omitted). As End Citizens United’s administrative complaint


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alleges, Scott reportedly “remained in contact with [New Republican] as recently as

late August 2018,” long after the April 9, 2018 date on which Scott admits becoming

a candidate, and spanning the period during which the May and June 2018 ads were

aired. JA68-69. Thus, the controlling Commissioners’ assertion that the coordination

violation would require “a threshold finding” that Scott had become a candidate in

2017 was contrary to law. See Orloski, 795 F.2d at 161.

      B.     The District Court Misinterpreted the Record Evidence and
             Disregarded the Controlling Commissioners’ Clear Legal Errors

      Despite the controlling Commissioners’ clear legal errors, the lower court

found that the FEC’s dismissal of the coordination claims was not contrary to law.

This holding constitutes reversible error for two reasons: first, the court failed to

correct the controlling Commissioners’ faulty legal analysis; and second, the district

court’s decision depends on a misinterpretation of the record evidence.

             1.      The District Court Disregarded               the     Controlling
                     Commissioners’ Clear Legal Errors

      The district court erred by finding that the Statement provided sufficient

reasoning, and by crediting the Statement’s incorrect conclusion that the merits of

the coordination claims depended on the merits of the candidacy-filing and soft-

money allegations.




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      There is no dispute in this case that the merits of the coordination claims do

not depend on the merits of the candidacy-filing or soft-money claims. Before the

district court, New Republican did not dispute that these claims are distinct, see ECF

No. 32 at 16, admitting that they present “different legal questions,” id. The district

court likewise did not conclude that, under FECA, the coordination claims could

succeed only if the candidacy-filing and soft-money claims have merit. See JA110-

13. Instead, the district court upheld the Statement’s dismissal by misinterpreting

Footnote 2 as “not refer[ring] to the coordinated communication allegations,” but

only the allegations relating to “raising and spending soft money, failing to timely

report, and failing to timely file a statement of organization.” JA112 (citing JA282

n.2) (emphasis in original).

      For three reasons, the district court is incorrect; Footnote 2’s reference to “the

remainder of the allegations” does, in fact, include the coordination claims. First, the

language of Footnote 2 and the sentence to which it is appended make clear that the

note is discussing the coordination claims. The sentence to which Footnote 2 is

appended refers to four claims: (1) the soft-money ban claim against New

Republican; (2) the candidacy-filing claim; and (3 and 4) the claims that Scott’s

campaign committee failed to file its “organization paperwork,” JA282, which

includes its Statement of Organization and finance disclosure reports, see supra p.


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15. Those four claims aside, the only remaining claims in MURs 7370 and 7496 are

the allegations that Scott violated the soft-money ban and that Scott, the Scott

Campaign, and New Republican violated the coordination rules. See supra p. 15

Thus, when Footnote 2 refers to “the remainder of the allegations against Scott, his

authorized committee, and New Republican PAC,” JA282 n.2 (emphasis added), it

is necessarily referring to the coordination claims, as they are the only claims

remaining against all three respondents. In contrast, the district court’s reading of

Footnote 2 makes little sense because it suggests that the text and the footnote are

referring to the same claims, despite the note’s reference to “the remainder of the

allegations.” Id.

      Second, although Footnote 2’s clear text resolves the issue, any ambiguity is

put to rest by the fact that the note’s reference to “the remainder of the allegations”

cites the FEC’s vote certification for MURs 7370 and 7496, see id., which includes

the agency’s votes on the coordination claims, see JA272-73 (¶¶ 1.e-g).

      Third, a separate footnote in the Statement—footnote 25—also confirms that

Footnote 2 is discussing the coordination claims. The sentence to which footnote 25

is appended discusses how the “principal allegations against the Respondents” center

on FECA’s soft-money ban and candidacy-filing requirements. JA285. Footnote 25

then contrasts those “principal” allegations with “the remaining allegations in the


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complaints, as discussed supra at n.2.” Id. at n.25 (emphasis added). The reference

to “complaints,” in the plural, proves beyond all doubt that the coordination claims

of the MUR 7496 complaint are incorporated into Footnote 2’s discussion.

      The Statement thus makes clear that the controlling Commissioners dismissed

the coordination claims on the incorrect ground that they required a “threshold

finding” with respect to the candidacy and soft-money allegations, “despite the lack

of a logical nexus between those claims.” JA112. Accordingly, the district court

should have held that the dismissal of the coordination claims was contrary to law,

and its failure to do so is a mistake that should be reversed.

             2.     The District Court Misinterpreted the Record Evidence

      Instead of declaring the controlling Commissioners’ incorrect legal analysis

contrary to law, the district court dismissed, in large part, due to the General

Counsel’s recommendation to take no action on the coordination claims, deeming

this fact “critical.” JA110; see also generally JA110-13. Even if, as the district court

concluded, the controlling Commissioners adopted the General Counsel’s reasoning

in dismissing the coordination claims, see JA111, the district court nevertheless

erred in upholding the dismissal on that basis for two reasons.

      First, even if the controlling Commissioners adopted the General Counsel’s

reasoning, that adoption could not remedy the fact that the controlling


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Commissioners also based their dismissal at least in part on grounds that are contrary

to FECA, in Footnote 2. See supra at 40-42. At no point does the Statement claim

that the erroneous rationale stated in Footnote 2 was not essential to its dismissal of

the coordination allegations. Indeed, in the very footnote the district court claims

adopted the General Counsel’s reasoning, footnote 25, the controlling

Commissioners expressly cite and incorporate their “discuss[ion] supra at n.2.”

JA285 n.25.

      Second, and in any event, the district court’s conclusion that the General

Counsel’s analysis supported the agency’s dismissal is wrong because it is based on

a basic misunderstanding of FEC procedure. The district court incorrectly equated

the General Counsel’s recommendation to “[t]ake no action at this time,” JA233,

with the General Counsel having “investigated” the allegation and “found no reason

to believe that any violation had occurred,” JA110. But under FECA, as well as

Commission policy and procedures, these are distinct legal terms of art with distinct

meanings. An “investigation” may occur only after the Commission has first found

“reason to believe,” see 52 U.S.C. § 30109(a)(2); 72 Fed. Reg. at 12,545, and so no

investigation occurred here. Further, the General Counsel did not recommend

finding “no reason to believe,” because that finding results in dismissal of a matter,

see 11 C.F.R. § 111.20(a), and is appropriate only where the available record “fail[s]


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to give rise to a reasonable inference that a violation has occurred, or even if the

allegations were true, would not constitute a violation of the law.” 72 Fed. Reg. at

12,546.

      In contrast, where the General Counsel, as here, recommends that the FEC

“[t]ake no action at this time,” it is expressly not recommending dismissal or

weighing in on whether “reason to believe” exists. As the agency’s enforcement

manual explains, the General Counsel will recommend taking no action “in cases

involving multiple allegations and respondents, and when there are grounds to

recommend [reason to believe] as to at least one respondent and to investigate at

least some of the allegations,” since in the course of that investigation, “the General

Counsel may develop a broader factual basis for determining what recommendation

to make at a later time regarding the other allegation or respondent.” FEC, Office of

the General Counsel, OGC Enforcement Manual 50 (2013) (emphasis added),

https://www.fec.gov/resources/updates/agendas/2013/mtgdoc_13-21.pdf.

      The General Counsel’s recommendation to take no action on the coordination

claims, therefore, did not support dismissal or finding “no reason to believe that any

violation had occurred,” as the district court concluded. 3 Rather, the General



3
       Nor did the General Counsel’s “take no action” recommendation support the
district court’s assertion that the General Counsel categorically “found that [End
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Counsel acknowledged that further investigation could uncover information

supporting reason to believe there was a coordination violation, and, consequently,

recommended deferring action. Indeed, while the General Counsel noted that no

information “available,” including in the administrative complaint, “suggest[ed] that

Scott was specifically involved in or requested the production and distribution of the

May 3 or June 11 advertisements,” JA232, it also acknowledged that what

information was available “supports a reasonable inference that Scott continued to

be involved with New Republican after December 2017.” JA226; see also id. at

JA235 (“[I]t appears that Scott did not step down from New Republican in December

2017, as respondents contend, but continued his involvement with New Republican

well into 2018”).

      Accordingly, the General Counsel did not recommend dismissal, but rather

that “the Commission take no action at this time as to the allegations of” coordinated

communications, “[g]iven that information discovered during our proposed

investigation into Scott’s involvement with New Republican in 2017 and 2018 may

impact our analysis of this allegation.” JA232 (emphasis added); see also JA230

(“The Commission should take no action at this time regarding the allegation that



Citizens United]’s allegation failed to meet the conduct standard under 11 C.F.R.
§ 109.21(a).” JA111 (citing JA230-31).
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the Committee and New Republican coordinated communications.”) (emphasis

added); JA233-34 (same, see recommendations 5-7). Even the controlling

Commissioners recognized this distinction. See Statement of Reasons, JA281 n.1

(“OGC also recommended taking no action at this time.”) (emphasis added) (citation

omitted); see also JA285 n.25 (“OGC did not believe there was sufficient evidence

to support a reason to believe finding at this juncture.”) (emphasis added). The

district court thus fundamentally mischaracterized the very piece of evidence it

deemed “critical” to its analysis.

      Not only did the district court mischaracterize the General Counsel’s

recommendation, it also mischaracterized the General Counsel’s analysis. The

district court claimed that “the [General Counsel] credited an affidavit by [New

Republican]’s executive director, Blaise Hazelwood, flatly denying any

communication or coordination with the Scott campaign.” JA111 (citing JA232); see

also JA112 (“I have little difficulty in determining the Commission acted reasonably

in relying on the Hazelwood affidavit and adopting [General Counsel’s]

interpretation as to the weight of that evidence.”). But the General Counsel did not

credit Ms. Hazelwood’s affidavit with respect to these allegations, it simply

mentioned it in summarizing the administrative respondents’ position. See JA232.

Far from crediting the affidavit, the General Counsel cast doubt on the affidavit in


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the next paragraph, stressing that what information was available supported “a

reasonable inference that Scott continued to be involved with New Republican after

December 2017.” Id. Not only that, but the General Counsel affirmatively

discredited Ms. Hazelwood’s claim that New Republican did not work with Scott on

the redesign and launch of its Scott-focused website on the day Scott announced his

candidacy. JA223-24. Indeed, the controlling Commissioners themselves

acknowledged that the General Counsel discredited the Hazelwood affidavit. See

JA289 (admitting that the General Counsel “dismiss[ed] the sworn statement of Ms.

Hazelwood” in finding that New Republican’s poll testing of Scott’s

competitiveness amounted to spending funds to further his candidacy).

      Besides mischaracterizing the General Counsel’s treatment of Ms.

Hazelwood’s affidavit, the district court went still further, mischaracterizing the

controlling Commissioners’ assessment of that affidavit. The court claimed that “[i]t

was reasonable of the FEC to rely on [Ms. Hazelwood’s] affidavit to assess” the

coordination claims. JA111-12. But, as End Citizens United pointed out to the

district court, see ECF No. 30 at 23, the Statement of Reasons at no point connected

the affidavit to these allegations; indeed, it discussed Ms. Hazelwood’s affidavit only

twice, in summarizing the relevant facts, see JA284-85, and in assessing the

candidacy-filing claim, see JA289. Accordingly, it is not correct that the controlling


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Commissioners either relied on Ms. Hazelwood’s affidavit or “adopt[ed] OGC’s

interpretation as to the weight of that evidence,” to dismiss the coordination claims.

See JA112.

      Moreover, as End Citizens United pointed out to the district court, see ECF

No. 30 at 21-22, even if the General Counsel or the controlling Commissioners had

credited Ms. Hazelwood’s affidavit with respect to the coordination claims—which

they did not—the affidavit deserved little weight during judicial review. See, e.g.,

LaBotz v. FEC, 889 F. Supp. 2d 51, 61-62 (D.D.C. 2012) (concluding that an

affidavit could not justify an FEC dismissal where it was “written in summary

fashion,” was provided after the FEC’s inquiry had commenced, was contradicted

by some contemporaneous evidence, and was unclear as to the affiant’s personal

knowledge of some elements of the affidavit).

      Finally, the district court analysis fell short in two additional ways. First, the

district court claimed that “[t]he FEC . . . explained its decision by noting that the

reporting on which [End Citizens United] relied to draw the inference of coordinated

communications ‘came from an outside organization and were not premised on

whistleblower testimony or any other sworn statement from someone with direct,

personal knowledge,’” JA111 (quoting JA289 n.45). But footnote 45 is not about the

coordination claims, but rather the candidacy-filing claim and the credibility of


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public reporting regarding New Republican’s poll testing for Scott. See JA289 &

n.45. Accordingly, it does not “further explain[]” the FEC decision with respect to

the coordination claims. See JA111.

      Second, the district court found that End Citizens United “has identified no

reason why the FEC should have discounted Ms. Hazelwood’s sworn testimony in

favor of those third-party allegations” in the administrative complaints. Id. But End

Citizens United did, in fact, identify reasons why the FEC should have discounted

the Hazelwood affidavit. It (and the General Counsel) identified two distinct flaws

with the affidavit, only one of which the district court addressed. End Citizens

United pointed out that the affidavit “discussed only the time period after Hazelwood

joined New Republican in February 2018,” and “did not address whether other

individuals associated with New Republican and involved in its decisionmaking may

have coordinated with Scott or the Scott Campaign, or whether the super PAC’s

actions were influenced by materials developed by Scott during his tenure.” ECF

No. 30 at 22-23. And yet the district court summarily concluded that Hazelwood

“assumed her role at [New Republican] in February 2018 and so was unable to speak

to violations alleged to have occurred before that time.” JA111. But see ECF No. 23

at 26, 28-29; JA224.




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      The district court thus committed multiple errors when evaluating the record,

including the General Counsel’s recommendation with respect to the coordination

claims, the evidence underlying it, and the weight given to that evidence. The district

court has identified an authoritative finding where there was none, based on evidence

that neither the General Counsel nor the controlling Commissioners credited. This

contortion of the record amounts to reversible error.

      In sum, the Court should reverse the district court’s conclusion that the FEC’s

dismissal of the coordination claims was not contrary to law.

                                   CONCLUSION

      For the foregoing reasons, End Citizens United respectfully requests that this

Court reverse the district court’s dismissal of this case.



Dated: January 25, 2023                    Respectfully submitted,

                                           /s/ Kevin P. Hancock

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                                   Counsel for Appellant

                                   * Not a member of the D.C. Bar; practicing
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                                   App. Rule 49(c)(3)




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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the word limit of Fed. R. App. P. 32(a)(7)(B)(i)

because it contains 11,181 words, excluding the parts of the brief exempted by Fed.

R. App. P. 32(f) and Circuit Rule 32(e)(1).

      This filing complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this

brief has been prepared using Microsoft Office Word 2016 in Times New Roman

14-point font.




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                          CERTIFICATE OF SERVICE

      I certify that on January 25, 2023, I electronically filed this brief with the Clerk

of Court for the United States Court of Appeals for the District of Columbia Circuit

using the appellate CM/ECF system, thereby serving all persons required to be

served.

                                                /s/ Kevin P. Hancock
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                           ADDENDUM
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                                 28 U.S.C. § 1291
                         Final decisions of district courts

The courts of appeals (other than the United States Court of Appeals for the Federal
Circuit) shall have jurisdiction of appeals from all final decisions of the district
courts of the United States, the United States District Court for the District of the
Canal Zone, the District Court of Guam, and the District Court of the Virgin Islands,
except where a direct review may be had in the Supreme Court. The jurisdiction of
the United States Court of Appeals for the Federal Circuit shall be limited to the
jurisdiction described in sections 1292(c) and (d) and 1295 of this title.


                                 28 U.S.C. § 1331
                                 Federal Question

The district courts shall have original jurisdiction of all civil actions arising under
the Constitution, laws, or treaties of the United States.


                          52 U.S.C. § 30101(2), (4), (8)(A)
                                    Definitions

(2) The term “candidate” means an individual who seeks nomination for election, or
election, to Federal office, and for purposes of this paragraph, an individual shall be
deemed to seek nomination for election, or election—

                                    *     *      *

(4) The term “political committee” means—

   (A) any committee, club, association, or other group of persons which receives
   contributions aggregating in excess of $1,000 during a calendar year or which
   makes expenditures aggregating in excess of $1,000 during a calendar year; or

   (B) any separate segregated fund established under the provisions of section
   30118(b) of this title; or

   (C) any local committee of a political party which receives contributions
   aggregating in excess of $5,000 during a calendar year, or makes payments
   exempted from the definition of contribution or expenditure as defined in
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   paragraphs (8) and (9) aggregating in excess of $5,000 during a calendar year, or
   makes contributions aggregating in excess of $1,000 during a calendar year or
   makes expenditures aggregating in excess of $1,000 during a calendar year.


                                   *      *     *

(8)(A) The term “contribution” includes—

   (i) any gift, subscription, loan, advance, or deposit of money or anything of value
   made by any person for the purpose of influencing any election for Federal office;
   or

   (ii) the payment by any person of compensation for the personal services of
   another person which are rendered to a political committee without charge for
   any purpose.


                             52 U.S.C. § 30102(e)
                      Organization of Political Committees

(e) Principal and additional campaign committees; designations, status of
candidate, authorized committees, etc.

(1) Each candidate for Federal office (other than the nominee for the office of Vice
President) shall designate in writing a political committee in accordance with
paragraph (3) to serve as the principal campaign committee of such candidate. Such
designation shall be made no later than 15 days after becoming a candidate. A
candidate may designate additional political committees in accordance with
paragraph (3) to serve as authorized committees of such candidate. Such designation
shall be in writing and filed with the principal campaign committee of such candidate
in accordance with subsection (f)(1).

(2) Any candidate described in paragraph (1) who receives a contribution, or any
loan for use in connection with the campaign of such candidate for election, or makes
a disbursement in connection with such campaign, shall be considered, for purposes
of this Act, as having received the contribution or loan, or as having made the
disbursement, as the case may be, as an agent of the authorized committee or
committees of such candidate.


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(3)(A) No political committee which supports or has supported more than one
candidate may be designated as an authorized committee, except that—

      (i) the candidate for the office of President nominated by a political party may
      designate the national committee of such political party as a principal
      campaign committee, but only if that national committee maintains separate
      books of account with respect to its function as a principal campaign
      committee; and


      (ii) candidates may designate a political committee established solely for the
      purpose of joint fundraising by such candidates as an authorized committee.

(B) As used in this section, the term “support” does not include a contribution by
any authorized committee in amounts of $2,000 or less to an authorized committee
of any other candidate.

(4) The name of each authorized committee shall include the name of the candidate
who authorized such committee under paragraph (1). In the case of any political
committee which is not an authorized committee, such political committee shall not
include the name of any candidate in its name.

(5) The name of any separate segregated fund established pursuant to section
30118(b) of this title shall include the name of its connected organization.


                               52 U.S.C. § 30103(a)
                       Registration of Political Committees

(a) Statements of organizations

Each authorized campaign committee shall file a statement of organization no later
than 10 days after designation pursuant to section 30102(e)(1) of this title. Each
separate segregated fund established under the provisions of section 30118(b) of this
title shall file a statement of organization no later than 10 days after establishment.
All other committees shall file a statement of organization within 10 days after
becoming a political committee within the meaning of section 30101(4) of this title.



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                               52 U.S.C. § 30104(a)
                              Reporting requirements

(a) Receipts and disbursements by treasurers of political committees; filing
requirements
(1) Each treasurer of a political committee shall file reports of receipts and
disbursements in accordance with the provisions of this subsection. The treasurer
shall sign each such report.
(2) If the political committee is the principal campaign committee of a candidate for
the House of Representatives or for the Senate--
(A) in any calendar year during which there is1 regularly scheduled election for
which such candidate is seeking election, or nomination for election, the treasurer
shall file the following reports:
      (i) a pre-election report, which shall be filed no later than the 12th day before
      (or posted by any of the following: registered mail, certified mail, priority mail
      having a delivery confirmation, or express mail having a delivery
      confirmation, or delivered to an overnight delivery service with an on-line
      tracking system, if posted or delivered no later than the 15th day before) any
      election in which such candidate is seeking election, or nomination for
      election, and which shall be complete as of the 20th day before such election;
      (ii) a post-general election report, which shall be filed no later than the 30th
      day after any general election in which such candidate has sought election,
      and which shall be complete as of the 20th day after such general election;
      and
      (iii) additional quarterly reports, which shall be filed no later than the 15th day
      after the last day of each calendar quarter, and which shall be complete as of
      the last day of each calendar quarter: except that the report for the quarter
      ending December 31 shall be filed no later than January 31 of the following
      calendar year; and
(B) in any other calendar year the treasurer shall file quarterly reports, which shall
be filed not later than the 15th day after the last day of each calendar quarter, and
which shall be complete as of the last day of each calendar quarter, except that the
report for the quarter ending December 31 shall be filed not later than January 31 of
the following calendar year.
(3) If the committee is the principal campaign committee of a candidate for the office
of President--

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(A) in any calendar year during which a general election is held to fill such office--
      (i) the treasurer shall file monthly reports if such committee has on January 1
      of such year, received contributions aggregating $100,000 or made
      expenditures aggregating $100,000 or anticipates receiving contributions
      aggregating $100,000 or more or making expenditures aggregating $100,000
      or more during such year: such monthly reports shall be filed no later than the
      20th day after the last day of each month and shall be complete as of the last
      day of the month, except that, in lieu of filing the report otherwise due in
      November and December, a pre-general election report shall be filed in
      accordance with paragraph (2)(A)(i), a post-general election report shall be
      filed in accordance with paragraph (2)(A)(ii), and a year end report shall be
      filed no later than January 31 of the following calendar year;
      (ii) the treasurer of the other principal campaign committees of a candidate
      for the office of President shall file a pre-election report or reports in
      accordance with paragraph (2)(A)(i), a post-general election report in
      accordance with paragraph (2)(A)(ii), and quarterly reports in accordance
      with paragraph (2)(A)(iii); and
      (iii) if at any time during the election year a committee filing under paragraph
      (3)(A)(ii) receives contributions in excess of $100,000 or makes expenditures
      in excess of $100,000, the treasurer shall begin filing monthly reports under
      paragraph (3)(A)(i) at the next reporting period; and
(B) in any other calendar year, the treasurer shall file either--
      (i) monthly reports, which shall be filed no later than the 20th day after the
      last day of each month and shall be complete as of the last day of the month;
      or
      (ii) quarterly reports, which shall be filed no later than the 15th day after the
      last day of each calendar quarter and which shall be complete as of the last
      day of each calendar quarter.
(4) All political committees other than authorized committees of a candidate shall
file either--
(A)
      (i) quarterly reports, in a calendar year in which a regularly scheduled general
      election is held, which shall be filed no later than the 15th day after the last
      day of each calendar quarter: except that the report for the quarter ending on
      December 31 of such calendar year shall be filed no later than January 31 of
      the following calendar year;

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      (ii) a pre-election report, which shall be filed no later than the 12th day before
      (or posted by any of the following: registered mail, certified mail, priority mail
      having a delivery confirmation, or express mail having a delivery
      confirmation, or delivered to an overnight delivery service with an on-line
      tracking system, if posted or delivered no later than the 15th day before) any
      election in which the committee makes a contribution to or expenditure on
      behalf of a candidate in such election, and which shall be complete as of the
      20th day before the election;
      (iii) a post-general election report, which shall be filed no later than the 30th
      day after the general election and which shall be complete as of the 20th day
      after such general election; and
      (iv) in any other calendar year, a report covering the period beginning January
      1 and ending June 30, which shall be filed no later than July 31 and a report
      covering the period beginning July 1 and ending December 31, which shall be
      filed no later than January 31 of the following calendar year; or
(B) monthly reports in all calendar years which shall be filed no later than the 20th
day after the last day of the month and shall be complete as of the last day of the
month, except that, in lieu of filing the reports otherwise due in November and
December of any year in which a regularly scheduled general election is held, a pre-
general election report shall be filed in accordance with paragraph (2)(A)(i), a post-
general election report shall be filed in accordance with paragraph (2)(A)(ii), and a
year end report shall be filed no later than January 31 of the following calendar year.
Notwithstanding the preceding sentence, a national committee of a political party
shall file the reports required under subparagraph (B).
(5) If a designation, report, or statement filed pursuant to this Act (other than under
paragraph (2)(A)(i) or (4)(A)(ii) or subsection (g)(1)) is sent by registered mail,
certified mail, priority mail having a delivery confirmation, or express mail having
a delivery confirmation, the United States postmark shall be considered the date of
filing the designation, report or statement. If a designation, report or statement filed
pursuant to this Act (other than under paragraph (2)(A)(i) or (4)(A)(ii), or subsection
(g)(1)) is sent by an overnight delivery service with an on-line tracking system, the
date on the proof of delivery to the delivery service shall be considered the date of
filing of the designation, report, or statement.
(6)(A) The principal campaign committee of a candidate shall notify the Secretary
or the Commission, and the Secretary of State, as appropriate, in writing, of any
contribution of $1,000 or more received by any authorized committee of such
candidate after the 20th day, but more than 48 hours before, any election. This
notification shall be made within 48 hours after the receipt of such contribution and
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shall include the name of the candidate and the office sought by the candidate, the
identification of the contributor, and the date of receipt and amount of the
contribution.
(B) Notification of expenditure from personal funds
      (i) Definition of expenditure from personal funds
      In this subparagraph, the term “expenditure from personal funds” means--
             (I) an expenditure made by a candidate using personal funds; and
             (II) a contribution or loan made by a candidate using personal funds or
             a loan secured using such funds to the candidate's authorized
             committee.
      (ii) Declaration of intent
      Not later than the date that is 15 days after the date on which an individual
      becomes a candidate for the office of Senator, the candidate shall file a
      declaration stating the total amount of expenditures from personal funds that
      the candidate intends to make, or to obligate to make, with respect to the
      election that will exceed the State-by-State competitive and fair campaign
      formula with--
             (I) the Commission; and
             (II) each candidate in the same election.
      (iii) Initial notification
      Not later than 24 hours after a candidate described in clause (ii) makes or
      obligates to make an aggregate amount of expenditures from personal funds
      in excess of 2 times the threshold amount in connection with any election, the
      candidate shall file a notification with--
             (I) the Commission; and
             (II) each candidate in the same election.
      (iv) Additional notification
      After a candidate files an initial notification under clause (iii), the candidate
      shall file an additional notification each time expenditures from personal
      funds are made or obligated to be made in an aggregate amount that exceed2
      $10,000 with--
             (I) the Commission; and
             (II) each candidate in the same election.

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      Such notification shall be filed not later than 24 hours after the expenditure is
      made.
      (v) Contents
      A notification under clause (iii) or (iv) shall include--
             (I) the name of the candidate and the office sought by the candidate;
             (II) the date and amount of each expenditure; and
             (III) the total amount of expenditures from personal funds that the
             candidate has made, or obligated to make, with respect to an election as
             of the date of the expenditure that is the subject of the notification.
(C) Notification of disposal of excess contributions
In the next regularly scheduled report after the date of the election for which a
candidate seeks nomination for election to, or election to, Federal office, the
candidate or the candidate's authorized committee shall submit to the Commission a
report indicating the source and amount of any excess contributions (as determined
under paragraph (1) of section 30116(i) of this title) and the manner in which the
candidate or the candidate's authorized committee used such funds.
(D) Enforcement
For provisions providing for the enforcement of the reporting requirements under
this paragraph, see section 30109 of this title.
(E) The notification required under this paragraph shall be in addition to all other
reporting requirements under this Act.
(7) The reports required to be filed by this subsection shall be cumulative during the
calendar year to which they relate, but where there has been no change in an item
reported in a previous report during such year, only the amount need be carried
forward.
(8) The requirement for a political committee to file a quarterly report under
paragraph (2)(A)(iii) or paragraph (4)(A)(i) shall be waived if such committee is
required to file a pre-election report under paragraph (2)(A)(i), or paragraph
(4)(A)(ii) during the period beginning on the 5th day after the close of the calendar
quarter and ending on the 15th day after the close of the calendar quarter.
(9) The Commission shall set filing dates for reports to be filed by principal
campaign committees of candidates seeking election, or nomination for election, in
special elections and political committees filing under paragraph (4)(A) which make
contributions to or expenditures on behalf of a candidate or candidates in special
elections. The Commission shall require no more than one pre-election report for
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each election and one post-election report for the election which fills the vacancy.
The Commission may waive any reporting obligation of committees required to file
for special elections if any report required by paragraph (2) or (4) is required to be
filed within 10 days of a report required under this subsection. The Commission shall
establish the reporting dates within 5 days of the setting of such election and shall
publish such dates and notify the principal campaign committees of all candidates in
such election of the reporting dates.
(10) The treasurer of a committee supporting a candidate for the office of Vice
President (other than the nominee of a political party) shall file reports in accordance
with paragraph (3).
(11)(A) The Commission shall promulgate a regulation under which a person
required to file a designation, statement, or report under this Act--
      (i) is required to maintain and file a designation, statement, or report for any
      calendar year in electronic form accessible by computers if the person has, or
      has reason to expect to have, aggregate contributions or expenditures in excess
      of a threshold amount determined by the Commission; and
      (ii) may maintain and file a designation, statement, or report in electronic form
      or an alternative form if not required to do so under the regulation
      promulgated under clause (i).
(B) The Commission shall make a designation, statement, report, or notification that
is filed with the Commission under this Act available for inspection by the public in
the offices of the Commission and accessible to the public on the Internet not later
than 48 hours (or not later than 24 hours in the case of a designation, statement,
report, or notification filed electronically) after receipt by the Commission.
(C) In promulgating a regulation under this paragraph, the Commission shall provide
methods (other than requiring a signature on the document being filed) for verifying
designations, statements, and reports covered by the regulation. Any document
verified under any of the methods shall be treated for all purposes (including
penalties for perjury) in the same manner as a document verified by signature.
(D) As used in this paragraph, the term “report” means, with respect to the
Commission, a report, designation, or statement required by this Act to be filed with
the Commission.
(12) Software for filing of reports
(A) In general
The Commission shall--
      (i) promulgate standards to be used by vendors to develop software that--
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             (I) permits candidates to easily record information concerning receipts
             and disbursements required to be reported under this Act at the time of
             the receipt or disbursement;
             (II) allows the information recorded under subclause (I) to be
             transmitted immediately to the Commission; and
             (III) allows the Commission to post the information on the Internet
             immediately upon receipt; and
      (ii) make a copy of software that meets the standards promulgated under
      clause (i) available to each person required to file a designation, statement, or
      report in electronic form under this Act.
(B) Additional information
To the extent feasible, the Commission shall require vendors to include in the
software developed under the standards under subparagraph (A) the ability for any
person to file any designation, statement, or report required under this Act in
electronic form.
(C) Required use
Notwithstanding any provision of this Act relating to times for filing reports, each
candidate for Federal office (or that candidate's authorized committee) shall use
software that meets the standards promulgated under this paragraph once such
software is made available to such candidate.
(D) Required posting
The Commission shall, as soon as practicable, post on the Internet any information
received under this paragraph.


                              52 U.S.C. § 30106(c)
                          Federal Election Commission

(c) Voting requirements; delegation of authorities

All decisions of the Commission with respect to the exercise of its duties and powers
under the provisions of this Act shall be made by a majority vote of the members of
the Commission. A member of the Commission may not delegate to any person his
or her vote or any decisionmaking authority or duty vested in the Commission by
the provisions of this Act, except that the affirmative vote of 4 members of the
Commission shall be required in order for the Commission to take any action in

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accordance with paragraph (6), (7), (8), or (9) of section 30107(a) of this title or with
chapter 95 or chapter 96 of Title 26.



                                52 U.S.C. § 30107(a)
                               Powers of Commission

(a) Specific authorities

The Commission has the power—

(1) to require by special or general orders, any person to submit, under oath, such
written reports and answers to questions as the Commission may prescribe;

(2) to administer oaths or affirmations;

(3) to require by subpena, signed by the chairman or the vice chairman, the
attendance and testimony of witnesses and the production of all documentary
evidence relating to the execution of its duties;

(4) in any proceeding or investigation, to order testimony to be taken by deposition
before any person who is designated by the Commission and has the power to
administer oaths and, in such instances, to compel testimony and the production of
evidence in the same manner as authorized under paragraph (3);

(5) to pay witnesses the same fees and mileage as are paid in like circumstances in
the courts of the United States;

(6) to initiate (through civil actions for injunctive, declaratory, or other appropriate
relief), defend (in the case of any civil action brought under section 30109(a)(8) of
this title) or appeal any civil action in the name of the Commission to enforce the
provisions of this Act and chapter 95 and chapter 96 of Title 26, through its general
counsel;

(7) to render advisory opinions under section 30108 of this title;

(8) to develop such prescribed forms and to make, amend, and repeal such rules,
pursuant to the provisions of chapter 5 of Title 5, as are necessary to carry out the
provisions of this Act and chapter 95 and chapter 96 of Title 26; and
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(9) to conduct investigations and hearings expeditiously, to encourage voluntary
compliance, and to report apparent violations to the appropriate law enforcement
authorities.


                                52 U.S.C. § 30109(a)
                                   Enforcement

(a) Administrative and judicial practice and procedure

(1) Any person who believes a violation of this Act or of chapter 95 or chapter 96 of
Title 26 has occurred, may file a complaint with the Commission. Such complaint
shall be in writing, signed and sworn to by the person filing such complaint, shall be
notarized, and shall be made under penalty of perjury and subject to the provisions
of section 1001 of Title 18. Within 5 days after receipt of a complaint, the
Commission shall notify, in writing, any person alleged in the complaint to have
committed such a violation. Before the Commission conducts any vote on the
complaint, other than a vote to dismiss, any person so notified shall have the
opportunity to demonstrate, in writing, to the Commission within 15 days after
notification that no action should be taken against such person on the basis of the
complaint. The Commission may not conduct any investigation or take any other
action under this section solely on the basis of a complaint of a person whose identity
is not disclosed to the Commission.

(2) If the Commission, upon receiving a complaint under paragraph (1) or on the
basis of information ascertained in the normal course of carrying out its supervisory
responsibilities, determines, by an affirmative vote of 4 of its members, that it has
reason to believe that a person has committed, or is about to commit, a violation of
this Act or chapter 95 or chapter 96 of Title 26, the Commission shall, through its
chairman or vice chairman, notify the person of the alleged violation. Such
notification shall set forth the factual basis for such alleged violation. The
Commission shall make an investigation of such alleged violation, which may
include a field investigation or audit, in accordance with the provisions of this
section.

(3) The general counsel of the Commission shall notify the respondent of any
recommendation to the Commission by the general counsel to proceed to a vote on
probable cause pursuant to paragraph (4)(A)(i). With such notification, the general
counsel shall include a brief stating the position of the general counsel on the legal
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and factual issues of the case. Within 15 days of receipt of such brief, respondent
may submit a brief stating the position of such respondent on the legal and factual
issues of the case, and replying to the brief of general counsel. Such briefs shall be
filed with the Secretary of the Commission and shall be considered by the
Commission before proceeding under paragraph (4).

(4)(A)(i) Except as provided in clauses1 (ii) and subparagraph (C), if the
Commission determines, by an affirmative vote of 4 of its members, that there is
probable cause to believe that any person has committed, or is about to commit, a
violation of this Act or of chapter 95 or chapter 96 of Title 26, the Commission shall
attempt, for a period of at least 30 days, to correct or prevent such violation by
informal methods of conference, conciliation, and persuasion, and to enter into a
conciliation agreement with any person involved. Such attempt by the Commission
to correct or prevent such violation may continue for a period of not more than 90
days. The Commission may not enter into a conciliation agreement under this clause
except pursuant to an affirmative vote of 4 of its members. A conciliation agreement,
unless violated, is a complete bar to any further action by the Commission, including
the bringing of a civil proceeding under paragraph (6)(A).

(ii) If any determination of the Commission under clause (i) occurs during the 45-
day period immediately preceding any election, then the Commission shall attempt,
for a period of at least 15 days, to correct or prevent the violation involved by the
methods specified in clause (i).

(B)(i) No action by the Commission or any person, and no information derived, in
connection with any conciliation attempt by the Commission under subparagraph
(A) may be made public by the Commission without the written consent of the
respondent and the Commission.

(ii) If a conciliation agreement is agreed upon by the Commission and the
respondent, the Commission shall make public any conciliation agreement signed
by both the Commission and the respondent. If the Commission makes a
determination that a person has not violated this Act or chapter 95 or chapter 96 of
Title 26, the Commission shall make public such determination.

(C)(i) Notwithstanding subparagraph (A), in the case of a violation of a qualified
disclosure requirement, the Commission may—

      (I) find that a person committed such a violation on the basis of information
      obtained pursuant to the procedures described in paragraphs (1) and (2); and
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      (II) based on such finding, require the person to pay a civil money penalty in
      an amount determined, for violations of each qualified disclosure requirement,
      under a schedule of penalties which is established and published by the
      Commission and which takes into account the amount of the violation
      involved, the existence of previous violations by the person, and such other
      factors as the Commission considers appropriate.

(ii) The Commission may not make any determination adverse to a person under
clause (i) until the person has been given written notice and an opportunity to be
heard before the Commission.

(iii) Any person against whom an adverse determination is made under this
subparagraph may obtain a review of such determination in the district court of the
United States for the district in which the person resides, or transacts business, by
filing in such court (prior to the expiration of the 30-day period which begins on the
date the person receives notification of the determination) a written petition
requesting that the determination be modified or set aside.

(iv) In this subparagraph, the term “qualified disclosure requirement” means any
requirement of—

      (I) subsections2 (a), (c), (e), (f), (g), or (i) of section 30104 of this title; or

      (II) section 30105 of this title.

(v) This subparagraph shall apply with respect to violations that relate to reporting
periods that begin on or after January 1, 2000, and that end on or before December
31, 2023.

(5)(A) If the Commission believes that a violation of this Act or of chapter 95 or
chapter 96 of Title 26 has been committed, a conciliation agreement entered into by
the Commission under paragraph (4)(A) may include a requirement that the person
involved in such conciliation agreement shall pay a civil penalty which does not
exceed the greater of $5,000 or an amount equal to any contribution or expenditure
involved in such violation.

(B) If the Commission believes that a knowing and willful violation of this Act or of
chapter 95 or chapter 96 of Title 26 has been committed, a conciliation agreement
entered into by the Commission under paragraph (4)(A) may require that the person
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involved in such conciliation agreement shall pay a civil penalty which does not
exceed the greater of $10,000 or an amount equal to 200 percent of any contribution
or expenditure involved in such violation (or, in the case of a violation of section
30122 of this title, which is not less than 300 percent of the amount involved in the
violation and is not more than the greater of $50,000 or 1,000 percent of the amount
involved in the violation).

(C) If the Commission by an affirmative vote of 4 of its members, determines that
there is probable cause to believe that a knowing and willful violation of this Act
which is subject to subsection (d), or a knowing and willful violation of chapter 95
or chapter 96 of Title 26, has occurred or is about to occur, it may refer such apparent
violation to the Attorney General of the United States without regard to any
limitations set forth in paragraph (4)(A).

(D) In any case in which a person has entered into a conciliation agreement with the
Commission under paragraph (4)(A), the Commission may institute a civil action
for relief under paragraph (6)(A) if it believes that the person has violated any
provision of such conciliation agreement. For the Commission to obtain relief in any
civil action, the Commission need only establish that the person has violated, in
whole or in part, any requirement of such conciliation agreement.

(6)(A) If the Commission is unable to correct or prevent any violation of this Act or
of chapter 95 or chapter 96 of Title 26, by the methods specified in paragraph (4),
the Commission may, upon an affirmative vote of 4 of its members, institute a civil
action for relief, including a permanent or temporary injunction, restraining order,
or any other appropriate order (including an order for a civil penalty which does not
exceed the greater of $5,000 or an amount equal to any contribution or expenditure
involved in such violation) in the district court of the United States for the district in
which the person against whom such action is brought is found, resides, or transacts
business.

(B) In any civil action instituted by the Commission under subparagraph (A), the
court may grant a permanent or temporary injunction, restraining order, or other
order, including a civil penalty which does not exceed the greater of $5,000 or an
amount equal to any contribution or expenditure involved in such violation, upon a
proper showing that the person involved has committed, or is about to commit (if
the relief sought is a permanent or temporary injunction or a restraining order), a
violation of this Act or chapter 95 or chapter 96 of Title 26.



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(C) In any civil action for relief instituted by the Commission under subparagraph
(A), if the court determines that the Commission has established that the person
involved in such civil action has committed a knowing and willful violation of this
Act or of chapter 95 or chapter 96 of Title 26, the court may impose a civil penalty
which does not exceed the greater of $10,000 or an amount equal to 200 percent of
any contribution or expenditure involved in such violation (or, in the case of a
violation of section 30122 of this title, which is not less than 300 percent of the
amount involved in the violation and is not more than the greater of $50,000 or 1,000
percent of the amount involved in the violation).

(7) In any action brought under paragraph (5) or (6), subpoenas for witnesses who
are required to attend a United States district court may run into any other district.

(8)(A) Any party aggrieved by an order of the Commission dismissing a complaint
filed by such party under paragraph (1), or by a failure of the Commission to act on
such complaint during the 120-day period beginning on the date the complaint is
filed, may file a petition with the United States District Court for the District of
Columbia.

(B) Any petition under subparagraph (A) shall be filed, in the case of a dismissal of
a complaint by the Commission, within 60 days after the date of the dismissal.

(C) In any proceeding under this paragraph the court may declare that the dismissal
of the complaint or the failure to act is contrary to law, and may direct the
Commission to conform with such declaration within 30 days, failing which the
complainant may bring, in the name of such complainant, a civil action to remedy
the violation involved in the original complaint.

(9) Any judgment of a district court under this subsection may be appealed to the
court of appeals, and the judgment of the court of appeals affirming or setting aside,
in whole or in part, any such order of the district court shall be final, subject to review
by the Supreme Court of the United States upon certiorari or certification as provided
in section 1254 of Title 28.
(10) Repealed. Pub.L. 98-620, Title IV, § 402(1)(A), Nov. 8, 1984, 98 Stat. 3357

(11) If the Commission determines after an investigation that any person has violated
an order of the court entered in a proceeding brought under paragraph (6), it may
petition the court for an order to hold such person in civil contempt, but if it believes
the violation to be knowing and willful it may petition the court for an order to hold
such person in criminal contempt.
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(12)(A) Any notification or investigation made under this section shall not be made
public by the Commission or by any person without the written consent of the person
receiving such notification or the person with respect to whom such investigation is
made.

(B) Any member or employee of the Commission, or any other person, who violates
the provisions of subparagraph (A) shall be fined not more than $2,000. Any such
member, employee, or other person who knowingly and willfully violates the
provisions of subparagraph (A) shall be fined not more than $5,000.


                       52 U.S.C. § 30116(a)(1), (a)(2), (f)
                 Limitations on contributions and expenditures

(a) Dollar limits on contributions

(1) Except as provided in subsection (i) and section 30117 of this title, no person
shall make contributions—

      (A) to any candidate and his authorized political committees with respect to
      any election for Federal office which, in the aggregate, exceed $2,000;

      (B) to the political committees established and maintained by a national
      political party, which are not the authorized political committees of any
      candidate, in any calendar year which, in the aggregate, exceed $25,000, or,
      in the case of contributions made to any of the accounts described in paragraph
      (9), exceed 300 percent of the amount otherwise applicable under this
      subparagraph with respect to such calendar year;

      (C) to any other political committee (other than a committee described in
      subparagraph (D)) in any calendar year which, in the aggregate, exceed
      $5,000; or

      (D) to a political committee established and maintained by a State committee
      of a political party in any calendar year which, in the aggregate, exceed
      $10,000.

(2) No multicandidate political committee shall make contributions—

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      (A) to any candidate and his authorized political committees with respect to
      any election for Federal office which, in the aggregate, exceed $5,000;

      (B) to the political committees established and maintained by a national
      political party, which are not the authorized political committees of any
      candidate, in any calendar year, which, in the aggregate, exceed $15,000, or,
      in the case of contributions made to any of the accounts described in paragraph
      (9), exceed 300 percent of the amount otherwise applicable under this
      subparagraph with respect to such calendar year; or

      (C) to any other political committee in any calendar year which, in the
      aggregate, exceed $5,000.

                                    *      *      *

(f) Prohibited contributions and expenditures

No candidate or political committee shall knowingly accept any contribution or
make any expenditure in violation of the provisions of this section. No officer or
employee of a political committee shall knowingly accept a contribution made for
the benefit or use of a candidate, or knowingly make any expenditure on behalf of a
candidate, in violation of any limitation imposed on contributions and expenditures
under this section.


                            52 U.S.C. § 30118(a)
   Contributions or expenditures by national banks, corporations, or labor
                               organizations

(a) In general

It is unlawful for any national bank, or any corporation organized by authority of
any law of Congress, to make a contribution or expenditure in connection with any
election to any political office, or in connection with any primary election or political
convention or caucus held to select candidates for any political office, or for any
corporation whatever, or any labor organization, to make a contribution or
expenditure in connection with any election at which presidential and vice
presidential electors or a Senator or Representative in, or a Delegate or Resident
Commissioner to, Congress are to be voted for, or in connection with any primary
election or political convention or caucus held to select candidates for any of the
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foregoing offices, or for any candidate, political committee, or other person
knowingly to accept or receive any contribution prohibited by this section, or any
officer or any director of any corporation or any national bank or any officer of any
labor organization to consent to any contribution or expenditure by the corporation,
national bank, or labor organization, as the case may be, prohibited by this section.


                               52 U.S.C. § 30125(e)
                          Soft Money of Political Parties

(e) Federal candidates

      (1) In general

A candidate, individual holding Federal office, agent of a candidate or an individual
holding Federal office, or an entity directly or indirectly established, financed,
maintained or controlled by or acting on behalf of 1 or more candidates or
individuals holding Federal office, shall not—

      (A) solicit, receive, direct, transfer, or spend funds in connection with an
      election for Federal office, including funds for any Federal election activity,
      unless the funds are subject to the limitations, prohibitions, and reporting
      requirements of this Act; or

      (B) solicit, receive, direct, transfer, or spend funds in connection with any
      election other than an election for Federal office or disburse funds in
      connection with such an election unless the funds-

          (i) are not in excess of the amounts permitted with respect to contributions
          to candidates and political committees under paragraphs (1), (2), and (3)
          of section 30116(a) of this title; and

          (ii) are not from sources prohibited by this Act from making contributions
          in connection with an election for Federal office.

(2) State law
Paragraph (1) does not apply to the solicitation, receipt, or spending of funds by an
individual described in such paragraph who is or was also a candidate for a State or
local office solely in connection with such election for State or local office if the
solicitation, receipt, or spending of funds is permitted under State law and refers only
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to such State or local candidate, or to any other candidate for the State or local office
sought by such candidate, or both.

(3) Fundraising events
Notwithstanding paragraph (1) or subsection (b)(2)(C), a candidate or an individual
holding Federal office may attend, speak, or be a featured guest at a fundraising
event for a State, district, or local committee of a political party.

(4) Permitting certain solicitations

      (A) General solicitations
      Notwithstanding any other provision of this subsection, an individual
      described in paragraph (1) may make a general solicitation of funds on behalf
      of any organization that is described in section 501(c) of title 26 and exempt
      from taxation under section 501(a) of such title (or has submitted an
      application for determination of tax exempt status under such section) (other
      than an entity whose principal purpose is to conduct activities described in
      clauses (i) and (ii) of section 30101(20)(A) of this title) where such solicitation
      does not specify how the funds will or should be spent.

      (B) Certain specific solicitations
      In addition to the general solicitations permitted under subparagraph (A), an
      individual described in paragraph (1) may make a solicitation explicitly to
      obtain funds for carrying out the activities described in clauses (i) and (ii) of
      section 30101(20)(A) of this title, or for an entity whose principal purpose is
      to conduct such activities, if-

          (i) the solicitation is made only to individuals; and

          (ii) the amount solicited from any individual during any calendar year does
          not exceed $20,000.


                             11 C.F.R. § 100.72(b)
                              Testing the waters

(b) Exemption not applicable to individuals who have decided to become
candidates. This exemption does not apply to funds received for activities
indicating that an individual has decided to become a candidate for a particular
office or for activities relevant to conducting a campaign. Examples of
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activities that indicate that an individual has decided to become a candidate
include, but are not limited to:

(1) The individual uses general public political advertising to publicize his or
her intention to campaign for Federal office.

(2) The individual raises funds in excess of what could reasonably be expected
to be used for exploratory activities or undertakes activities designed to amass
campaign funds that would be spent after he or she becomes a candidate.

(3) The individual makes or authorizes written or oral statements that refer to
him or her as a candidate for a particular office.

(4) The individual conducts activities in close proximity to the election or over
a protracted period of time.

(5) The individual has taken action to qualify for the ballot under State law.


                           11 C.F.R. § 100.131(b)
                             Testing the waters

(b) Exemption not applicable to individuals who have decided to become
candidates. This exemption does not apply to payments made for activities
indicating that an individual has decided to become a candidate for a particular
office or for activities relevant to conducting a campaign. Examples of
activities that indicate that an individual has decided to become a candidate
include, but are not limited to:

(1) The individual uses general public political advertising to publicize his or
her intention to campaign for Federal office.

(2) The individual raises funds in excess of what could reasonably be expected
to be used for exploratory activities or undertakes activities designed to amass
campaign funds that would be spent after he or she becomes a candidate.

(3) The individual makes or authorizes written or oral statements that refer to
him or her as a candidate for a particular office.


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(4) The individual conducts activities in close proximity to the election or over
a protracted period of time.

(5) The individual has taken action to qualify for the ballot under State law.


                            11 C.F.R. § 101.1(a)
                           Candidate designations

(a) Principal Campaign Committee. Within 15 days after becoming a
candidate under 11 CFR 100.3, each candidate, other than a nominee for the
office of Vice President, shall designate in writing, a principal campaign
committee in accordance with 11 CFR 102.12. A candidate shall designate his
or her principal campaign committee by filing a Statement of Candidacy on
FEC Form 2, or, if the candidate is not required to file electronically under 11
CFR 104.18, by filing a letter with the Commission containing the same
information (that is, the individual's name and address, party affiliation, and
office sought, the District and State in which Federal office is sought, and the
name and address of his or her principal campaign committee). Each principal
campaign committee shall register, designate a depository, and report in
accordance with 11 CFR parts 102, 103, and 104.



                      11 C.F.R. § 109.21(a), (c), (d)
                 What is a “coordinated communication”?

(a) Definition. A communication is coordinated with a candidate, an
authorized committee, a political party committee, or an agent of any of the
foregoing when the communication:

(1) Is paid for, in whole or in part, by a person other than that candidate,
authorized committee, or political party committee;

(2) Satisfies at least one of the content standards in paragraph (c) of this
section; and

(3) Satisfies at least one of the conduct standards in paragraph (d) of this
section.


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                                    *      *     *

(c) Content standards. Each of the types of content described in paragraphs
(c)(1) through (c)(5) of this section satisfies the content standard of this
section.

(1) A communication that is an electioneering communication under 11 CFR
100.29.

(2) A public communication, as defined in 11 CFR 100.26, that disseminates,
distributes, or republishes, in whole or in part, campaign materials prepared
by a candidate or the candidate's authorized committee, unless the
dissemination, distribution, or republication is excepted under 11 CFR
109.23(b). For a communication that satisfies this content standard, see
paragraph (d)(6) of this section.

(3) A public communication, as defined in 11 CFR 100.26, that expressly
advocates, as defined in 11 CFR 100.22, the election or defeat of a clearly
identified candidate for Federal office.

(4) A public communication, as defined in 11 CFR 100.26, that satisfies
paragraph (c)(4)(i), (ii), (iii), or (iv) of this section:

(i) References to House and Senate candidates. The public communication
refers to a clearly identified House or Senate candidate and is publicly
distributed or otherwise publicly disseminated in the clearly identified
candidate's jurisdiction 90 days or fewer before the clearly identified
candidate's general, special, or runoff election, or primary or preference
election, or nominating convention or caucus.

(ii) References to Presidential and Vice Presidential candidates. The public
communication refers to a clearly identified Presidential or Vice Presidential
candidate and is publicly distributed or otherwise publicly disseminated in a
jurisdiction during the period of time beginning 120 days before the clearly
identified candidate's primary or preference election in that jurisdiction, or
nominating convention or caucus in that jurisdiction, up to and including the
day of the general election.

(iii) References to political parties. The public communication refers to a
political party, does not refer to a clearly identified Federal candidate, and is
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publicly distributed or otherwise publicly disseminated in a jurisdiction in
which one or more candidates of that political party will appear on the ballot.

      (A) When the public communication is coordinated with a candidate
      and it is publicly distributed or otherwise publicly disseminated in that
      candidate's jurisdiction, the time period in paragraph (c)(4)(i) or (ii) of
      this section that would apply to a communication containing a reference
      to that candidate applies;

      (B) When the public communication is coordinated with a political
      party committee and it is publicly distributed or otherwise publicly
      disseminated during the two-year election cycle ending on the date of a
      regularly scheduled non–Presidential general election, the time period
      in paragraph (c)(4)(i) of this section applies;

      (C) When the public communication is coordinated with a political
      party committee and it is publicly distributed or otherwise publicly
      disseminated during the two-year election cycle ending on the date of a
      Presidential general election, the time period in paragraph (c)(4)(ii) of
      this section applies.

(iv) References to both political parties and clearly identified Federal
candidates. The public communication refers to a political party and a clearly
identified Federal candidate, and is publicly distributed or otherwise publicly
disseminated in a jurisdiction in which one or more candidates of that political
party will appear on the ballot.

      (A) When the public communication is coordinated with a candidate
      and it is publicly distributed or otherwise publicly disseminated in that
      candidate's jurisdiction, the time period in paragraph (c)(4)(i) or (ii) of
      this section that would apply to a communication containing a reference
      to that candidate applies;

      (B) When the public communication is coordinated with a political
      party committee and it is publicly distributed or otherwise publicly
      disseminated in the clearly identified candidate's jurisdiction, the time
      period in paragraph (c)(4)(i) or (ii) of this section that would apply to a
      communication containing only a reference to that candidate applies;



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      (C) When the public communication is coordinated with a political
      party committee and it is publicly distributed or otherwise publicly
      disseminated outside the clearly identified candidate's jurisdiction, the
      time period in paragraph (c)(4)(iii)(B) or (C) of this section that would
      apply to a communication containing only a reference to a political
      party applies.

(5) A public communication, as defined in 11 CFR 100.26, that is the
functional equivalent of express advocacy. For purposes of this section, a
communication is the functional equivalent of express advocacy if it is
susceptible of no reasonable interpretation other than as an appeal to vote for
or against a clearly identified Federal candidate.

(d) Conduct standards. Any one of the following types of conduct satisfies the
conduct standard of this section whether or not there is agreement or formal
collaboration, as defined in paragraph (e) of this section:

(1) Request or suggestion.

(i) The communication is created, produced, or distributed at the request or
suggestion of a candidate, authorized committee, or political party committee;
or

(ii) The communication is created, produced, or distributed at the suggestion
of a person paying for the communication and the candidate, authorized
committee, or political party committee assents to the suggestion.

(2) Material involvement. This paragraph, (d)(2), is not satisfied if the
information material to the creation, production, or distribution of the
communication was obtained from a publicly available source. A candidate,
authorized committee, or political party committee is materially involved in
decisions regarding:

(i) The content of the communication;

(ii) The intended audience for the communication;

(iii) The means or mode of the communication;

(iv) The specific media outlet used for the communication;
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(v) The timing or frequency of the communication; or

(vi) The size or prominence of a printed communication, or duration of a
communication by means of broadcast, cable, or satellite.

(3) Substantial discussion. This paragraph, (d)(3), is not satisfied if the
information material to the creation, production, or distribution of the
communication was obtained from a publicly available source. The
communication is created, produced, or distributed after one or more
substantial discussions about the communication between the person paying
for the communication, or the employees or agents of the person paying for
the communication, and the candidate who is clearly identified in the
communication, or the candidate's authorized committee, the candidate's
opponent, the opponent's authorized committee, or a political party
committee. A discussion is substantial within the meaning of this paragraph if
information about the candidate's or political party committee's campaign
plans, projects, activities, or needs is conveyed to a person paying for the
communication, and that information is material to the creation, production,
or distribution of the communication.

(4) Common vendor. All of the following statements in paragraphs (d)(4)(i)
through (d)(4)(iii) of this section are true:

(i) The person paying for the communication, or an agent of such person,
contracts with or employs a commercial vendor, as defined in 11 CFR
116.1(c), to create, produce, or distribute the communication;

(ii) That commercial vendor, including any owner, officer, or employee of the
commercial vendor, has provided any of the following services to the
candidate who is clearly identified in the communication, or the candidate's
authorized committee, the candidate's opponent, the opponent's authorized
committee, or a political party committee, during the previous 120 days:

      (A) Development of media strategy, including the selection or
      purchasing of advertising slots;

      (B) Selection of audiences;

      (C) Polling;
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      (D) Fundraising;

      (E) Developing the content of a public communication;

      (F) Producing a public communication;

      (G) Identifying voters or developing voter lists, mailing lists, or donor
      lists;

      (H) Selecting personnel, contractors, or subcontractors; or

      (I) Consulting or otherwise providing political or media advice; and

(iii) This paragraph, (d)(4)(iii), is not satisfied if the information material to
the creation, production, or distribution of the communication used or
conveyed by the commercial vendor was obtained from a publicly available
source. That commercial vendor uses or conveys to the person paying for the
communication:

      (A) Information about the campaign plans, projects, activities, or needs
      of the clearly identified candidate, the candidate's opponent, or a
      political party committee, and that information is material to the
      creation, production, or distribution of the communication; or

      (B) Information used previously by the commercial vendor in providing
      services to the candidate who is clearly identified in the
      communication, or the candidate's authorized committee, the
      candidate's opponent, the opponent's authorized committee, or a
      political party committee, and that information is material to the
      creation, production, or distribution of the communication.

(5) Former employee or independent contractor. Both of the following
statements in paragraphs (d)(5)(i) and (d)(5)(ii) of this section are true:

(i) The communication is paid for by a person, or by the employer of a person,
who was an employee or independent contractor of the candidate who is
clearly identified in the communication, or the candidate's authorized
committee, the candidate's opponent, the opponent's authorized committee, or
a political party committee, during the previous 120 days; and
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(ii) This paragraph, (d)(5)(ii), is not satisfied if the information material to the
creation, production, or distribution of the communication used or conveyed
by the former employee or independent contractor was obtained from a
publicly available source. That former employee or independent contractor
uses or conveys to the person paying for the communication:

      (A) Information about the campaign plans, projects, activities, or needs
      of the clearly identified candidate, the candidate's opponent, or a
      political party committee, and that information is material to the
      creation, production, or distribution of the communication; or

      (B) Information used by the former employee or independent contractor
      in providing services to the candidate who is clearly identified in the
      communication, or the candidate's authorized committee, the
      candidate's opponent, the opponent's authorized committee, or a
      political party committee, and that information is material to the
      creation, production, or distribution of the communication.

(6) Dissemination, distribution, or republication of campaign material. A
communication that satisfies the content standard of paragraph (c)(2) of this
section or 11 CFR 109.37(a)(2)(i) shall only satisfy the conduct standards of
paragraphs (d)(1) through (d)(3) of this section on the basis of conduct by the
candidate, the candidate's authorized committee, or the agents of any of the
foregoing, that occurs after the original preparation of the campaign materials
that are disseminated, distributed, or republished. The conduct standards of
paragraphs (d)(4) and (d)(5) of this section may also apply to such
communications as provided in those paragraphs.


                              11 C.F.R. § 300.2(c)
                                  Definitions

(c) Directly or indirectly establish, finance, maintain, or control.

(1) This paragraph (c) applies to national, State, district, and local committees
of a political party, candidates, and holders of Federal office, including an
officer, employee, or agent of any of the foregoing persons, which shall be
referred to as “sponsors” in this section.

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(2) To determine whether a sponsor directly or indirectly established,
finances, maintains, or controls an entity, the factors described in paragraphs
(c)(2)(i) through (x) of this section must be examined in the context of the
overall relationship between sponsor and the entity to determine whether the
presence of any factor or factors is evidence that the sponsor directly or
indirectly established, finances, maintains, or controls the entity. Such factors
include, but are not limited to:

(i) Whether a sponsor, directly or through its agent, owns controlling interest
in the voting stock or securities of the entity;

(ii) Whether a sponsor, directly or through its agent, has the authority or ability
to direct or participate in the governance of the entity through provisions of
constitutions, bylaws, contracts, or other rules, or through formal or informal
practices or procedures;

(iii) Whether a sponsor, directly or through its agent, has the authority or
ability to hire, appoint, demote, or otherwise control the officers, or other
decision-making employees or members of the entity;

(iv) Whether a sponsor has a common or overlapping membership with the
entity that indicates a formal or ongoing relationship between the sponsor and
the entity;

(v) Whether a sponsor has common or overlapping officers or employees with
the entity that indicates a formal or ongoing relationship between the sponsor
and the entity;

(vi) Whether a sponsor has any members, officers, or employees who were
members, officers or employees of the entity that indicates a formal or
ongoing relationship between the sponsor and the entity, or that indicates the
creation of a successor entity;

(vii) Whether a sponsor, directly or through its agent, provides funds or goods
in a significant amount or on an ongoing basis to the entity, such as through
direct or indirect payments for administrative, fundraising, or other costs, but
not including the transfer to a committee of its allocated share of proceeds
jointly raised pursuant to 11 CFR 102.17, and otherwise lawfully;



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(viii) Whether a sponsor, directly or through its agent, causes or arranges for
funds in a significant amount or on an ongoing basis to be provided to the
entity, but not including the transfer to a committee of its allocated share of
proceeds jointly raised pursuant to 11 CFR 102.17, and otherwise lawfully;

(ix) Whether a sponsor, directly or through its agent, had an active or
significant role in the formation of the entity; and

(x) Whether the sponsor and the entity have similar patterns of receipts or
disbursements that indicate a formal or ongoing relationship between the
sponsor and the entity.

(3) Safe harbor. On or after November 6, 2002, an entity shall not be deemed
to be directly or indirectly established, maintained, or controlled by another
entity unless, based on the entities' actions and activities solely after
November 6, 2002, they satisfy the requirements of this section. If an entity
receives funds from another entity prior to November 6, 2002, and the
recipient entity disposes of the funds prior to November 6, 2002, the receipt
of such funds prior to November 6, 2002 shall have no bearing on determining
whether the recipient entity is financed by the sponsoring entity within the
meaning of this section.

(4) Determinations by the Commission.

(i) A sponsor or entity may request an advisory opinion of the Commission to
determine whether the sponsor is no longer directly or indirectly financing,
maintaining, or controlling the entity for purposes of this part. The request for
such an advisory opinion must meet the requirements of 11 CFR part 112 and
must demonstrate that the entity is not directly or indirectly financed,
maintained, or controlled by the sponsor.

(ii) Notwithstanding the fact that a sponsor may have established an entity
within the meaning of paragraph (c)(2) of this section, the sponsor or the entity
may request an advisory opinion of the Commission determining that the
relationship between the sponsor and the entity has been severed. The request
for such an advisory opinion must meet the requirements of 11 CFR part 112,
and must demonstrate that all material connections between the sponsor and
the entity have been severed for two years.



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(iii) Nothing in this section shall require entities that are separate
organizations on November 6, 2002 to obtain an advisory opinion to operate
separately from each other.




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